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 9                        UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
                                EASTERN DIVISION
11

12    UNITED STATES OF AMERICA,                    Civil Action No. FY
13                Plaintiff,
14                                                 CONSENT DECREE
      vs.
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16
      ADVANCED FLOW
      ENGINEERING, INC.,
17
                  Defendant
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                                               I
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 1                 WHEREAS, Plaintiff United States of America, on behalf of the
 2    United States Environmental Protection Agency (“EPA”), has filed a Complaint in
 3    this action concurrently with this Consent Decree against Advanced Flow
 4    Engineering, Inc. (“Defendant”) for violations of the Clean Air Act (“CAA”)
 5    related to Defendant’s manufacture, sale and offer to sell aftermarket products that
 6    bypass, defeat, or render inoperative emission controls installed on Motor Vehicles
 7    or Motor Vehicle Engines in violation of Section 203 of the CAA;
 8                 WHEREAS, Section 203(a)(3)(B) of the CAA, 42 U.S.C. §
 9    7522(a)(3)(B), prohibits any person from manufacturing, selling, offering for sale,
10    or installing, any part or component intended for use with, or as part of, any Motor
11    Vehicle or Motor Vehicle Engine, where a principal effect of the part or
12    component is to bypass, defeat, or render inoperative any device or element of
13    design installed on or in a Motor Vehicle or Motor Vehicle Engine in compliance
14    with regulations under Title II of the CAA, and where the person knows or should
15    know that such part or component is being offered for sale or installed for such use
16    or put to such use;
17                 WHEREAS, the Complaint alleges that Defendant manufactured,
18    sold, and/or offered to sell numerous subject aftermarket performance products, the
19    effect of which is to bypass, defeat, or render inoperative a device or element of
20    design installed on or in Motor Vehicles or Motor Vehicle Engines to control the
21    emission of pollutants in violation of Section 203(a)(3)(B) of the CAA;
22                 WHEREAS, the United States has reviewed Financial Information
23    regarding Defendant’s financial ability to pay a civil penalty in this action and to
24    finance the requirements of this Consent Decree. The United States has determined
25    that Defendant, which currently has approximately 170 employees, has limited
26    financial ability to pay a civil penalty in this action.
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 1                 WHEREAS, Defendant does not admit liability for any violations
 2    alleged in the Complaint;
 3                 WHEREAS, the United States’ Complaint seeks injunctive relief and
 4    the assessment of civil penalties; and
 5                 WHEREAS, the United States and Defendant (collectively, the
 6    “Parties”) recognize, and the Court by entering this Consent Decree finds, that this
 7    Consent Decree has been negotiated by the Parties in good faith and will avoid
 8    litigation between the Parties, and that this Consent Decree is fair, reasonable, and
 9    in the public interest;
10                 NOW, THEREFORE, before the taking of any testimony, without the
11    adjudication or admission of any issue of fact or law except as provided in Section
12    I (Jurisdiction and Venue), and with the consent of the parties, it is hereby
13    ADJUDGED, ORDERED, AND DECREED as follows:
14                          I.     JURISDICTION AND VENUE
15          1.     The Court has jurisdiction over the subject matter of this action and
16    the Parties pursuant to 28 U.S.C. §§ 1331, 1345, 1355, and Sections 204 and 205
17    of the CAA, 42 U.S.C. §§ 7523 and 7524.
18          2.     Venue in this Court is proper pursuant to Sections 204 and 205 of the
19    CAA, 42 U.S.C. §§ 7523 and 7524, and 28 U.S.C. §§ 1391(b) and 1395(a). For
20    purposes of this Consent Decree, or any action to enforce this Decree, Defendant
21    consents to the Court’s jurisdiction over this Decree or such action and over it, and
22    consents to venue in this judicial district. For purposes of this Consent Decree,
23    Defendant agrees that the Complaint states claims upon which relief may be
24    granted pursuant to Sections 203, 204, and 205 of the CAA, 42 U.S.C. §§ 7522,
25    7523, and 7524.
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 1                                II.     APPLICABILITY
 2          3.     The obligations of this Consent Decree are binding upon the United
 3    States, and apply to and are binding upon Defendant and any other entity majority-
 4    owned or operated by Defendant that is engaged in selling or manufacturing the
 5    Subject Products and on any successors, assigns or other entities or persons
 6    otherwise bound by law.
 7          4.     No transfer of ownership or operation of any of Defendant’s business,
 8    whether in compliance with the procedures of this Paragraph or otherwise, shall
 9    relieve Defendant of its obligation to ensure that the terms of the Decree are
10    implemented unless (a) the transferee agrees to undertake the obligations required
11    by this Decree and to be substituted for the Defendant as a Party under the Decree
12    and thus be bound by the terms thereof, (b) the United States consents to relieve
13    Defendant of its obligations, and (c) the Court approves the substitution. The
14    United States may refuse to approve the substitution of the transferee for any
15    Defendant if it determines that the proposed transferee does not have the financial
16    or technical ability to comply with the requirements of the Decree. At least 30
17    Days prior to any transfer of ownership or operation of any of Defendant’s
18    business, Defendant shall provide a copy of this Consent Decree to the proposed
19    transferee and shall simultaneously provide written notice of the prospective
20    transfer, together with a copy of the proposed written agreement, to EPA and to the
21    United States in accordance with Section XIII (Notices). Any attempt to transfer
22    ownership or operation of any Defendant’s business, without complying with this
23    Paragraph, constitutes a violation of this Decree.
24          5.     Within 30 Days of the Effective Date, Defendant shall provide a copy
25    of this Consent Decree (including all Appendices) to all officers, directors,
26    employees and agents of the Defendant whose duties might reasonably include
27    compliance with any provision of this Decree, as well as to any contractor retained
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 1    to perform work required under this Consent Decree. Defendant shall condition
 2    any such contract upon performance of the work in conformity with the terms of
 3    this Consent Decree.
 4          6.       In any action to enforce this Consent Decree, Defendant shall not raise
 5    as a defense the failure by any of its officers, directors, employees, agents, or
 6    contractors to take any actions necessary to comply with the provisions of this
 7    Consent Decree.
 8                                  III.    DEFINITIONS
 9          7.       Terms used in this Consent Decree that are defined in the CAA or in
10    regulations promulgated in accordance with the CAA shall have the meanings
11    assigned to them in the CAA or such regulations, unless otherwise provided in this
12    Decree. Whenever the terms set forth below are used in this Consent Decree, the
13    following definitions shall apply:
14                   a.     “Auxiliary Emission Control Device” or “AECD” shall mean
15    any element of design of a Motor Vehicle or Motor Vehicle Engine that senses
16    temperature, motive speed, engine RPM, transmission gear, or any other parameter
17    for the purpose of activating, modulating, delaying, or deactivating the operation of
18    any part of a Motor Vehicle’s emission control system. See 40 C.F.R. § 1037.801.
19                   b.    “Authorized Dealer” means any distributor authorized by
20    Defendant to sell Products.
21                   c.    “CAA” means the Clean Air Act, as amended, 42 U.S.C. §
22    7401 et seq.
23                   d.    “CARB Executive Order” or “CARB EO” means an official
24    exemption issued by the California Air Resources Board (“CARB”) exempting an
25    aftermarket Product from the prohibitions of Section 27156 of the California
26    Vehicle Code.
27                   e.    “Complaint” means the complaint filed by the United States in
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 1    this action.
 2                   f.   “Consent Decree” or “Decree” means this Consent Decree and
 3    all appendices attached hereto and identified in Section XXIV.
 4                   g.   “Date of Lodging” means the day that this Consent Decree was
 5    lodged with the Court for public comment pursuant to Section XVIII.
 6                   h.   “Day” means a calendar day unless expressly stated to be a
 7    business day. In computing any period of time under this Consent Decree, where
 8    the last day would fall on a Saturday, Sunday, or federal holiday, the period shall
 9    run until the close of business of the next business day.
10                   i.   “Defendant” means Advanced Flow Engineering, Inc. an S
11    corporation with its principal place of business in Corona, California.
12                   j.   “Diesel Oxidation Catalyst” or “DOC” means any oxidation
13    catalyst used to reduce emissions from diesel-fueled vehicles and equipment,
14    including all hardware, components, parts, sensors, subassemblies, software,
15    AECDs, calibrations, and other Emission-related Elements of Design that
16    collectively constitute the system for implementing this emissions control strategy.
17                   k.   “Diesel Particulate Filter System” or “DPF” means all
18    hardware, components, parts, sensors, subassemblies, software, AECDs,
19    calibrations, and other Emission-related Elements of Design that collectively
20    constitute the system for controlling emissions of particulate matter by trapping
21    such particulates in a filter and periodically oxidizing them through thermal
22    regeneration of the filter.
23                   l.   “Effective Date” shall have the definition provided in
24    Section XIV.
25                   m.   “Emissions-Related Calibrations” means software calibrations
26    programed and installed by the OEM in Motor Vehicles and/or Motor Vehicle
27    Engines for parameters that can affect emissions including but not limited to the
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 1    following calibrations:
 2                        i.    calibrations for parameters that affect the operation of the
                                EGR System including EGR flowrate and EGR cooler
 3                              bypassing;
 4                       ii.    calibrations for parameters that affect the operation of the
 5                              DPF, DOC, SCR, and/or or NAC;
 6                       iii.   calibrations for parameters that affect engine combustion,
                                performance, and operation, including air-fuel ratio, fuel
 7                              injection timing, fuel quantity, fuel injection pulse width,
 8                              fuel injection pressure, fuel injection mass, multiple
                                injection patterns, open loop/closed loop functionality
 9
                                and control, ignition control – (spark timing), boost
10                              pressure, limiters (fuel, torque, smoke, etc.), manifold
11
                                pressure, camshaft timing, electronic throttle control,
                                engine air flow characteristics, mass air flow rate,
12                              turbocharger/supercharger air flow, and other parameters
13                              disclosed on the certificate of conformity (“COC”) which
                                are elements of the OEM’s strategy to control the
14                              formation of pollutants in the engine; and
15                       iv.    calibrations for parameters that affect OBD detection,
16                              warning and recording of malfunctions.
17                 n.    “Emissions-related Elements of Design” means any part,
18    device, computer software, electronic control system, computer logic, calibration
19    installed on or in a Motor Vehicle or Motor Vehicle Engine by an OEM for the
20    purpose of controlling emissions or which must function in accordance with the
21    OEM’s design to assure continued vehicle emission compliance. Emissions-
22    related Elements of Design include but are not limited to:
23                       i.    The EGR system;
24                       ii.    DOCs;
25                       iii.   The SCR system;
26
                         iv.    DPFs;

27
                         v.     NAC;

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 1
                         vi.    The OBD system;

 2
                         vii.   Diagnostic Trouble Codes;

 3
                         viii. Oxygen sensors;
                         ix.    NOx sensors;
 4
                         x.     Ammonia sensors;
 5
                         xi.    PM sensors;
 6
                         xii.   Urea quality sensors;
 7
                         xiii. Exhaust gas temperature sensors;
 8
                         xiv.   DPF differential pressure sensor;
 9
                         xv.    AECDs;
10
                         xvi.   Emissions-Related Calibrations;
11
                         xvii. The routing of crankcase emissions to the engine; and
12
                         xviii. All other parts, devices or elements of design installed in
13                              compliance with Title II of the CAA and its regulations.
14                 o.    “EPA” means the United States Environmental Protection
15
      Agency and any of its successor departments or agencies.
16
                   p.    “Exempt Product” means a Product that is exempt from
17
      requirements of this Consent Decree because it is (1) a Product that is listed on
18
      Appendix B, or (2) a Product that meets the requirements in Appendix C.
19
                   q.    “Exhaust Gas Recirculation” or “EGR” or “EGR System”
20
      means all hardware, components, parts, sensors, subassemblies, software, AECDs,
21
      calibrations and other Emission-related Elements of Design that collectively
22
      constitute the system for controlling NOx emissions by recirculating a portion of
23
      engine exhaust gas into the cylinders of an engine. EGR includes the EGR cooler,
24
      throttle valve, crossover pipe into the intake manifold, the EGR ports in the
25
      exhaust manifold, and the temperature and/or pressure sensors used to detect the
26
      amount of exhaust gas being recirculated back into the engine.
27
                   r.    “Financial Information” means the documentation identified in
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 1     Appendix D, which was submitted to the United States by Defendant and as to
 2     which Defendant asserts includes Confidential Business Information.
 3                 s.     “Identified Subject Products” means the Motor Vehicle or
 4     Motor Vehicle Engine parts, components, and Products identified in Appendix A.
 5                 t.     “Interest” means the Prime Rate on the date 14 days before the
 6     payment is made.
 7                 u.     “Marketing Materials” means all materials or communications
 8     containing or conveying information that is generated or used by the Defendant, to
 9     discuss, describe, or explain any of Defendant’s Products, in any form, including
10     but not limited to electronic and hardcopy information used in advertisements,
11     training materials, online videos (e.g., YouTube), social media webpages (e.g.,
12     Facebook, Instagram) and user manuals or guides.
13                 v.     “Motor Vehicle” shall mean any self-propelled vehicle
14     designed for transporting persons or property on a street or highway.
15                 w.     “Motor Vehicle Engine” shall mean an internal combustion
16     engine that powers a Motor Vehicle.
17                 x.      “NOx Adsorber Catalyst” or “NAC” means the strategy for
18     controlling NOx emissions from partial lean burn gasoline engines and from diesel
19     engines by adsorbing the NOx emissions onto a catalyst substrate during lean
20     combustion followed by periodic regeneration of the substrate during short, richer-
21     than-stoichiometric combustion, together with all hardware, components, parts,
22     sensors, subassemblies, software, AECDs, calibrations and other Emission-related
23     Elements of Design that collectively constitute the system for implementing this
24     emissions control strategy.
25                 y.     “On-Board Diagnostics” or “OBD” means the strategy for
26     monitoring the functions and performance of the emission control system and all
27     other systems and components that must be monitored under 42 U.S.C. § 7521(m)
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 1     of the CAA and applicable regulations including 40 C.F.R. §§ 86.007-17, 86.010-
 2     18, 1806-05 for identifying and detecting malfunctions of such monitored systems
 3     and components, and for alerting the driver of such potential malfunctions by
 4     illuminating the malfunction indicator light (“MIL”), together with all hardware,
 5     components, parts, sensors, subassemblies, software, AECDs, calibrations and
 6     other Emission-related Elements of Design that collectively constitute the system
 7     for implementing this strategy.
 8                 z.     “Original Equipment Manufacturer” or “OEM” means the
 9     manufacturer responsible for the design and production of a Motor Vehicle or
10     Motor Vehicle Engine.
11                 aa.    “Other Subject Products” means any Product that is not an
12     Exempt Product and that meets any of the following criteria:
13                      i.     any Product that is materially similar in terms of function
                               to a Product identified in Appendix A;
14
                          ii.    any Product that enables or requires the removal of,
15
                                 overwrites, bypasses, defeats, renders inoperative or
16                               deletes the function of one or more Emission-related
                                 Elements of Design on a Motor Vehicle or Motor Vehicle
17
                                 Engine;
18
                          iii.   any Product intended for use with, or as part of, any
19                               Motor Vehicle, a principal effect of which is to bypass,
                                 defeat, or render inoperative any device or element of
20
                                 design installed on or in a Motor Vehicle or Motor
21                               Vehicle engine in compliance with regulations under the
22
                                 CAA.

23                 bb.     “Paragraph” means a portion of this Decree identified by an
24     Arabic numeral, including any subparagraphs thereof.
25                 cc.    “Parties” means the United States and the Defendant.
26                 dd.    “Permanently Delete and/or Destroy” means: (1) in the case of
27     hardware, to crush the device and all of its parts or components to render them
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 1     useless; and (2) in the case of software, tunes, calibrations or other programming,
 2     to completely and permanently erase all programming and information.
 3                  ee.   “Product” means any part or component (including hardware,
 4     software, tunes, programming, calibrations, or a device on which such software,
 5     tunes, calibrations or other programming resides) intended for use with, or as part
 6     of, a Motor Vehicle or Motor Vehicle Engine.
 7                  ff.   “Section” means a portion of this Decree identified by a roman
 8     numeral, including all Paragraphs thereunder.
 9                  gg.   “Selective Catalytic Reduction System” or “SCR” means all
10     hardware, components, parts, sensors, sub-assemblies, software, AECDs,
11     calibrations, and other elements of design that collectively constitute the system for
12     controlling NOx emissions through catalytic reduction using an ammonia-based
13     diesel exhaust fluid (“DEF”) as the reducing agent, including without limitation all
14     hardware, components, parts, sensors, subassemblies, software, AECDs,
15     calibrations, and other Emission-related Elements of Design that collectively
16     constitute the system for implementing this emissions control strategy including
17     but not limited to (1) the DEF storage tank; (2) the DEF injectors, (3) the dosing
18     control unit, and (4) the SCR catalysts assembly.
19                  hh.   “Subject Products” means, collectively, all “Identified Subject
20     Product(s)” and all “Other Subject Product(s).”
21                  ii.    “Technical Support” means a range of services offered by
22     Defendant to customers or dealers involving the provision of assistance or advice
23     on the use, installation, or repair of Products. Technical Support includes, but is
24     not limited to, Product owners and user’s manuals and answers to specific
25     questions provided by phone, on-line, and in person.
26                  jj.   “United States” means the United States of America, acting on
27     behalf of EPA.
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 1                               IV.     CIVIL PENALTIES
 2           8.     Defendant provided Financial Information, which is generally
 3     described in Appendix D, that demonstrates that Defendant has a limited ability to
 4     pay civil penalties at this time. Defendant shall pay, in two installments, the sum
 5     of $250,000 as civil penalties, together with Interest accruing from the Date of
 6     Lodging. The first installment shall be paid within 30 Days after the Effective
 7     Date. The second installment shall be paid one year after the Effective Date.
 8           9.     Defendant shall pay the civil penalties and Interest due by FedWire
 9     Electronic Funds Transfer (“EFT”) to the United States Department of Justice in
10     accordance with written instructions to be provided to Defendant, following entry
11     of the Consent Decree, by the Financial Litigation Unit (“FLU”) of the United
12     States Attorney’s Office for the Middle District of North Carolina. The payment
13     instructions provided by the FLU will include a Consolidated Debt Collection
14     System (“CDCS”) number, which Defendant shall use to identify all payments
15     required to be made in accordance with this Consent Decree. The FLU will
16     provide the payment instructions to:
17                       Adam M. Kushner
                         Hogan Lovells LLP
18
                         555 Thirteenth Street, NW
19                       Washington, DC 20004
                         adam.kushner@hoganlovells.com
20
       on behalf of Defendant. Defendant may change the individual to receive payment
21
       instructions on its behalf by providing written notice of such change to the United
22
       States and EPA in accordance with Section XIII (Notices).
23
             10.    At the time of payment, Defendant shall send notice that payment has
24
       been made: (i) to EPA via email at cinwd_acctsreceivable@epa.gov or via regular
25
       mail at EPA Cincinnati Finance Office, 26 W. Martin Luther King Drive,
26
       Cincinnati, Ohio 45268; (ii) to the United States via email or regular mail in
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 1     accordance with Section XIII (Notices); and (iii) to EPA in accordance with
 2     Section XIII. Such notice shall state that the payment is for the civil penalties
 3     owed pursuant to the Consent Decree in United States v. Advanced Flow
 4     Engineering, Inc. and shall reference the civil action number, CDCS Number, and
 5     DOJ case number 90-5-2-1- 12079.
 6           11.    Acceleration of Payments.
 7                  a.     Defendant shall have the option (at its sole discretion) to pay
 8     any of the amounts required by Paragraph 8 above before they are due. Any such
 9     pre-payment shall include the accrued but unpaid Interest calculated in accordance
10     with Paragraph 8 above.
11                  b.     If the Defendant fails to pay any payment required by
12     Paragraph 8 above by the required due date, all remaining payments and all
13     accrued Interest shall become due immediately upon such failure. Interest shall
14     continue to accrue on any unpaid amounts until the total amount due has been
15     received. Interest required by this Paragraph shall be in addition to any stipulated
16     penalties owed pursuant to Paragraph 33.
17                  c.     If there has been a change in control of Defendant in the form
18     of a takeover bid, tender offer or other merger transaction (however effected), that
19     has become unconditional in all respects or otherwise effective, under which a
20     third party or group of parties acting together acquires a majority interest in
21     Defendant, the United States may elect to accelerate the schedule for all or any of
22     the payments required by Paragraph 8 in which case the accelerated payments shall
23     become due and owing 120 Days after service of notice of such election, or any
24     other time that the Parties may jointly agree upon.
25                  d.     If the Defendant becomes a debtor in a case filed under Title 11
26     of the United States Code, 11 U.S.C. 101 et seq., the schedule for all or any of the
27     payments required by Paragraphs 8 and 11 shall be automatically accelerated and
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 1     become due and owing and shall be paid in the manner specified by Paragraph 9
 2     unless the Parties agree otherwise.
 3           12.    Defendant shall not deduct any penalties or Interest paid under this
 4     Decree in accordance with this Section or Section VII (Stipulated Penalties) in
 5     calculating federal income tax.
 6                       V.      COMPLIANCE REQUIREMENTS
 7           13.    The following compliance paragraphs apply to all Subject Products.
 8           14.    Defendant shall comply with Paragraphs 15 through 19 below
 9     beginning on the dates indicated below for the type of Subject Product indicated,
10     and continuing thereafter.
11

12            Compliance Date       Types of Subject Products
13            July 1, 2019          Subject Products on Appendix A Category 1
14
              September 1, 2019 Subject Products on Appendix A Category 2
15
              November 1, 2019 Subject Products on Appendix A Categories 3 and 4
16

17            The Effective         All Other Subject Products
              Date
18

19

20           15.    Defendant shall not manufacture, sell, offer to sell, distribute, or
21     install in a Motor Vehicle or Motor Vehicle Engine any Subject Product.
22           16.    Defendant shall not remove or render inoperative any Emissions-
23     related Element of Design installed on or in a Motor Vehicle or Motor Vehicle
24     Engine.
25           17.    Notwithstanding the foregoing, if, following the Effective Date, an
26     amendment to the CAA or other legislation is enacted into law, or EPA
27     promulgates rules that expressly pertain to modifications to Motor Vehicles or
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 1     Motor Vehicle Engines and/or the sale of parts or software for the purpose of use
 2     in competition motorsports, this Consent Decree does not prohibit Defendant from
 3     manufacturing, selling, offering to sell, and/or installing Subject Products
 4     consistent with such new statute, or rule and Paragraphs 18 and 21 shall no longer
 5     apply with respect to those Subject Products.
 6           18.    Other Compliance Requirements. Unless a different date is indicated
 7     below, by no later than the dates set forth in Paragraph 14 above and continuing
 8     thereafter for the types of Subject Products indicated, Defendant shall comply with
 9     the following requirements.
10                  a.    Deletion and Destruction of Subject Products. Defendant shall
11     Permanently Delete and/or Destroy all Subject Products in its possession and
12     control.
13                        i.     Defendant shall provide to EPA (in accordance with
                                 Section XIII (Notices)) a certified statement in
14
                                 accordance with Paragraph 27 below that all Subject
15                               Products have been destroyed and: (1) as to hardware, a
                                 record of the serial number of each hardware device, if
16
                                 applicable, that was destroyed and the date of such
17                               destruction; and (2) as to software, tunes, calibrations or
18
                                 other programming: a description of the software, tunes,
                                 calibrations or other programming that was permanently
19                               erased or deleted and the date of such erasure or deletion
20                               (“Destruction Report”).
21                        ii.    As of the Effective Date, Defendant has provided the
                                 Destruction Reports for Categories 1, 2, 3, and 4. No
22
                                 later than 30 Days after the Effective Date, Defendant
23                               shall provide the Destruction Report for all other Subject
                                 Products, not included in Categories 1 – 4.
24
                          iii.   If Subject Products are returned to aFe after submission
25
                                 of the Destruction Reports, aFe will include a Destruction
26                               Report for those Subject Projects in its semi-annual
                                 reports required by Paragraph 23.
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 1                  b.     Ceasing Technical Support. Defendant shall permanently cease
 2     offering or making available any Technical Support or other information
 3     (including Marketing Materials) pertaining to the installation, manufacture, sale,
 4     use, or repair of any Subject Product.
 5                  c.     Denial of Warranty Claims. Defendant shall deny all warranty
 6     claims pertaining to any Subject Product.
 7                  d.     Notification to Authorized Dealers. No later than 30 Days after
 8     the Effective Date, Defendant shall (a) notify all Authorized Dealers that
 9     Defendant is no longer honoring warranty claims pertaining to any Subject Product
10     and that Defendant is no longer supplying Technical Support pertaining to the
11     installation, manufacture, sale, use or repair of any Subject Product; and (b)
12     instruct all Authorized Dealers to refuse to honor any warranty claims pertaining to
13     any Subject Product and to refuse to supply any Technical Support or other
14     information (including Marketing Materials) pertaining to the installation,
15     manufacture, sale, use, or repair of any Subject Product.
16                  e.     Prohibition on Transfer of Intellectual Property. Defendant
17     shall not offer for sale, sell, convey, or otherwise transfer in any way the design,
18     source code, technology, manufacturing process, or other intellectual property
19     associated with any Subject Product, except as part of an application for a CARB
20     EO or in response to a request from EPA, DOJ or another federal or state law
21     enforcement office.
22                  f.     Revision of Marketing Materials. Defendant shall revise all
23     Marketing Materials to ensure that such materials do not include any information,
24     including but not limited to instructions or demonstrations, that pertains or relates
25     in any way to replacing, overwriting, deleting, bypassing, defeating, or rendering
26     inoperative any emission control device or Emissions-related Element of Design.
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 1                  g.     Notice to all Identified Authorized Dealers and Subject Product
 2     Customers. No later than 30 Days after the Effective Date, Defendant shall
 3     transmit a notice that includes the language specified in Appendix E to (1) each
 4     Authorized Dealer and (2) each known end-use customer to which Defendant sold
 5     an Identified Subject Product on or after January 1, 2013.
 6                  h.     Notice to Employees. No later than 30 Days after the Effective
 7     Date, Defendant shall post a written notice of applicable Clean Air Act
 8     prohibitions, incorporating language contained in Appendix F to this Decree, in
 9     conspicuous locations where Defendant’s officers and employees will regularly
10     encounter it. These postings must include both hardcopy postings in a physical
11     location and electronic postings either on-line or via email to those employees with
12     email accounts.
13                  i.     Officers and Employees Forfeit of Subject Products. No later
14     than 30 Days after the Effective Date, Defendant shall request that each of its
15     employees and shall require that each of its officers forfeit any Subject Product in
16     his or her possession, or installed on any Motor Vehicle owned or operated by him
17     or her or under his or her control, by returning such Subject Product to an
18     individual designated by Defendant and identified to EPA for such purpose.
19     Defendant shall Permanently Delete and/or Destroy all such Subject Products
20     within 30 days of receipt.
21           19.    Notwithstanding the requirements of Paragraphs 18.a-i above,
22     Defendant and any Authorized Dealers may assist customers in removing any
23     Subject Products from vehicles on which they were installed and returning such
24     vehicles to the OEM settings. Defendant and any Authorized Dealers may provide
25     Technical Support to customers that does not involve the installation, manufacture,
26     sale, use or repair of Subject Products.
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 1           20.    Training of Employees. No later than 30 Days after the Effective
 2     Date, and continuing on an annual basis thereafter, Defendant shall conduct a
 3     Clean Air Act Compliance Training Program for all officers, employees,
 4     contractors and consultants whose responsibilities involve the manufacture,
 5     marketing, repair, or sale of exhaust or tuning Products and those who supervise
 6     such employees (hereinafter “trainees”). Prior to the first program, Defendant shall
 7     provide a copy of all training materials to EPA for comment. The Training
 8     Program shall:
 9                a.      Include detailed information regarding:
10
                          i.     The Compliance Requirements set forth in Section V of
11                               this Consent Decree;
12                        ii.    The acts prohibited by Section 203(a)(3) of the CAA, 42
                                 U.S.C. § 7522(a)(3), including the statutory language of
13
                                 Section 203(a)(3);
14
                          iii.   The categories of potentially liable persons under the
15                               CAA, including individuals;
16                        iv.    The relevant maximum civil penalties for each violation
                                 of Section 203(a)(3)(A) and 203(a)(3)(B), as adjusted for
17
                                 inflation in 40 C.F.R. Part 19; and
18
                          v.     The acts prohibited by Section 113(c)(2) of the CAA, 42
19                               U.S.C. § 7413(c)(2), including the statutory language of
                                 that Section and the criminal penalties set forth therein.
20

21                  b.    Be conducted in person;
22                  c.    Provide the trainees with a written summary of all training
23     content, including the information required in Paragraph 20; and
24                  d.    Require all trainees to acknowledge, in writing, that they
25     participated in the training session and received a written summary of all content as
26     required by Paragraph 20.c.
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 1           21.    Beginning on the Effective Date, Defendant shall not;
 2                  a.     possess any ownership or interest in any person or entity that
 3     Defendant knows, or with reasonable diligence should know, manufactures, sells,
 4     offers to sell, distributes or installs in a Motor Vehicle or Motor Vehicle Engine
 5     any Subject Product in the United States;
 6                  b.     assist any person or entity with the manufacture, sell, offer to
 7     sell, distribution, or installation of any Subject Product in a Motor Vehicle or
 8     Motor Vehicle Engine in the United States; or
 9                  c.     earn any income from the distribution or installation of any
10     Subject Product in a Motor Vehicle or Motor Vehicle Engine in the United States.
11           22.    Decree Not a Compliance Determination. Defendant shall not state or
12     imply in any way that, as a result of this Consent Decree, any of its Products are
13     covered by a compliance determination (or similar designation) from EPA.
14                         VI.     REPORTING REQUIREMENTS
15           23.    By January 31st and July 31st of each year after the Effective Date, and
16     continuing on a semi-annual basis until termination of this Decree, and in addition
17     to any other express reporting requirements of this Decree, Defendant shall submit
18     a semi-annual progress report for the preceding six months. The semi-annual
19     progress report shall include, but is not limited to, the following:
20                  a.     A statement regarding the status of the payment of (i) the civil
21     penalties and associated Interest pursuant to Section IV and (ii) any stipulated
22     penalties owing pursuant to Section VII;
23                  b.     A complete copy of any CARB EO application submitted
24     during the reporting period for any Product manufactured or offered for sale by
25     Defendant, including all emission test data;
26                  c.     A complete copy of any CARB EO obtained during the
27     reporting period;
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 1                   d.    As to Subject Products that were Permanently Deleted and/or
 2     Destroyed pursuant to Paragraph 18.a during the reporting period, a list of all
 3     hardware Products, including Product names, type, serial numbers, and date of
 4     destruction; and a list of all software, data, or other information that was
 5     Permanently Deleted and/or Destroyed, including the type of software, data or
 6     other information and the date of destruction or deletion;
 7                   e.    For any product authorized according to Paragraph 17 above
 8     that is manufactured, sold, offered for sale, or installed during the reporting period,
 9     (i) the relevant new law or regulation; (ii) the product name, type, and manufacture
10     volume and sales volume; (iii) a narrative description of how the product affects
11     the Motor Vehicle or Motor Vehicle Engine, including what engine parameters or
12     other calibrations are affected and how the product affects the On-Board
13     Diagnostics; (iv) a narrative description of why Defendant believes the product is
14     permitted to be manufactured, sold or offered for sale by the relevant new law or
15     regulation.
16                   f.    A list of all Authorized Dealers to whom Defendant provided
17     instructions pursuant to Paragraph 18.d during the reporting period and a copy of
18     any such instructions provided;
19                   g.    A list of all Authorized Dealers and end-use customers to
20     whom Defendant provided a notification pursuant to Paragraph 18.g during the
21     reporting period and a copy of any such notification provided;
22                   h.    A copy of the written notice required to be posted pursuant to
23     Paragraph 18.h;
24                   i.    A list of all Products forfeited in accordance with Paragraph
25     18.i during the reporting period, the name of the individual to whom the Products
26     were delivered for forfeiture, and documentation of the destruction or deletion of
27     such Products as set forth in Paragraph 18.a;
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 1                  j.     A list of all officers, employees, contractors and consultants
 2     who participated in the Clean Air Act Compliance Training Program during the
 3     reporting period, pursuant to Paragraph 20 and copies of the training
 4     acknowledgments signed by the participants;
 5                  k.     A list of the following Products that were manufactured or sold
 6     by Defendant; and the quantities manufactured or sold by Defendant: (1)
 7     Identified Subject Products, (2) Other Subject Products, and (3) Exempt Products
 8     except those listed in Appendix B; and
 9                  l.     A description of any noncompliance with the requirements of
10     this Consent Decree (including all Appendices) during the reporting period,
11     including an explanation of the violation’s likely cause and of the specific remedial
12     steps taken, or to be taken, to resolve and/or minimize such violation, and the
13     specific steps to be taken to prevent such further violations.
14
             24.    If Defendant violates, or has reason to believe that it may violate, any
15
       requirement of this Consent Decree, Defendant shall notify the United States of
16
       such violation and its likely duration, in writing, within 10 business Days of the
17
       Day Defendant first became aware of the violation, with an explanation of the
18
       violation’s likely cause and of the specific remedial steps taken, or to be taken, to
19
       prevent or minimize such violation. If the cause of a violation cannot be fully
20
       explained at the time the report is due, Defendant shall so state in the report along
21
       with the reason(s) why the violation cannot be fully explained. Defendant shall
22
       investigate the cause of the violation and shall then submit an amendment to the
23
       report, including a full explanation of the cause of the violation, within 30 Days of
24
       the Day Defendant became aware of the cause of the violation. Nothing in this
25
       Paragraph or the following Paragraph relieves Defendant of the obligation to
26
       provide the notice required by Section VIII (Force Majeure).
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 1            25.       Whenever any violation of this Consent Decree or any other event
 2     affecting Defendant’s performance under this Decree, may pose an immediate
 3     threat to public health or welfare or to the environment, Defendant shall notify
 4     EPA orally or by electronic means as soon as possible, but no later than 24 hours
 5     after Defendant first knew of the violation or event. This procedure is in addition
 6     to the requirements set forth in the preceding Paragraph.
 7            26.       All reports shall be submitted to the persons designated in Section
 8     XIII (Notices) and shall include the civil action number of this case and the DOJ
 9     case number, 90-5-2-1-11963.
10            27.       Each report or other submission to EPA required by this Consent
11     Decree shall be signed by an officer of Defendant and include the following
12     certification:
13

14            I certify under penalty of law that this document and all attachments
              were prepared under my direction or supervision in accordance with a
15
              system designed to assure that qualified personnel properly gather and
16            evaluate the information submitted. Based on my inquiry of the
              person or persons who manage the system, or those persons directly
17
              responsible for gathering the information, the information submitted
18            is, to the best of my knowledge and belief, true, accurate, and
19
              complete. I have no personal knowledge that the information
              submitted is other than true, accurate, and complete. I am aware that
20            there are significant penalties for submitting false information,
21            including the possibility of fine and imprisonment for knowing
              violations.
22

23            28.       This certification requirement does not apply to emergency or similar
24     notifications where compliance would be impractical.
25
              29.       The reporting requirements of this Consent Decree do not relieve
26
       Defendant of any reporting obligations required by the CAA or implementing
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 1     regulations, or by any other federal, state, or local law, regulation, permit, or other
 2     requirement.
 3           30.      Any information provided in accordance with this Consent Decree
 4     may be used by the United States in any proceeding to enforce the provisions of
 5     this Consent Decree and as otherwise permitted by law.
 6                            VII.     STIPULATED PENALTIES
 7           31.      Defendant shall be liable for stipulated penalties to the United States
 8     for violations of this Consent Decree as specified in the table below, unless
 9     excused under Section VIII (Force Majeure), or reduced or waived by the United
10     States pursuant to Paragraph 36. A violation includes failing to perform any
11     obligation required by the terms of this Decree, including any work plan or
12     schedule approved under this Decree, according to all applicable requirements of
13     this Decree and within the specified time schedules established by or approved
14     under this Decree.
15                                                   Stipulated Penalty Per Violation
        Consent Decree Violation                     per Day or Other Measure as
16
                                                     Indicated
17      Manufacture, sale, offer to sell,            For the first 100 Subject Products,
18
        distribution, or installation of any Subject $2,500 per unit of Subject Product
        Product, in violation of the requirements manufactured, sold, or installed, or
19      of Paragraph 15.                             two times the gross amount
20                                                   received for each unit, whichever is
                                                     greater. For each Subject Product
21                                                   thereafter, $4,500 per unit of
22                                                   Subject Product Subject Product
                                                     manufactured, sold, or installed, or
23
                                                     two times the gross amount
24                                                   received for each unit, whichever is
25
                                                     greater.
        Failure to comply with the requirements      $500 per Day for the first 15 Days
26      of Paragraph 18.a (Destruction of All        of noncompliance; $1000 per Day
27      Subject Products)                            for the 16th through 30th Days of
28

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 1                                                  noncompliance; and $2000 per Day
                                                    thereafter.
 2
        Failure to comply with the requirements     $2,500 per instance of technical
 3      of Paragraph 18.b (Prohibition on           support.
        Technical Support for all Subject
 4
        Products)
 5      Failure to comply with the requirements     $350 per Day for the first 15 Days
 6
        of Paragraphs 18.c and d (Instruction to    of noncompliance; $1,000 per Day
        Authorized Dealers to Refuse Technical      for the 16th through 30th Days of
 7      Service and Deny Warranty Claims)           noncompliance; and $2,500 per
 8                                                  Day thereafter.
        Failure to comply with the requirements     $50,000 per transfer or two times
 9
        of Paragraph 18.e (Prohibition on           the gross amount received from
10      Transfer of Intellectual Property)          each transfer, whichever is greater.
        Failure to comply with the requirements     $350 per Day for the first 15 Days
11
        of Paragraph 18.f (Revision of Marketing of noncompliance; $1,000 per Day
12      Materials)                                  for the 16th through 30th Days of
13                                                  noncompliance; and $2,500 per
                                                    Day thereafter.
14      Failure to comply with the requirements     $2,000 per customer or Dealer.
15      of Paragraph 18.g (Notice to all Identified
        Subject Product Customers)
16
        Failure to comply with the requirements     $350 per Day for the first 30 Days
17      of Paragraph 18.h (Notice to Employees) of noncompliance; and $2,000 per
18
                                                    Day thereafter.
        Failure to comply with the requirements     $350 per Day for the first 30 Days
19      of Paragraph 18.i (Request/Requirement of noncompliance; and $4,000 per
20      of Officers and Employees to Forfeit        Day thereafter.
        Subject Products)
21
        Failure to comply with the requirements     $500 per employee not trained.
22      of Paragraph 20 (Training of Employees)
23
        Violation of any other requirement of this $350 per Day for the first 30 Days
        Consent Decree.                             of noncompliance and $2,500 per
24                                                  Day thereafter.
25

26
             32.   Periodic Reports. If Defendant fails to submit a Semi-Annual Report,

27
       or fails to submit a complete Semi-Annual Report, as required by Paragraph 23,

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 1     Defendant shall pay a stipulated penalty of $500 per Day for the first 30 Days of
 2     noncompliance and $2,500 per Day thereafter.
 3           33.     Late Payment of Civil Penalty. If Defendant fails to pay the civil
 4     penalties required to be paid under Section IV (Civil Penalties) when due,
 5     Defendant shall pay a stipulated penalty of $1,000 per Day for each Day that the
 6     payment is late.
 7           34.     Stipulated penalties under this Section shall begin to accrue on the
 8     Day after performance is due or on the Day a violation occurs, whichever is
 9     applicable, and shall continue to accrue until performance is satisfactorily
10     completed or until the violation ceases. Stipulated penalties shall accrue
11     simultaneously for separate violations of this Consent Decree.
12           35.     Defendant shall pay stipulated penalties to the United States within 30
13     Days of a written demand by the United States, unless Defendant invokes the
14     dispute resolution procedures under Section IX (Dispute Resolution) within the 30-
15     Day period.
16           36.     Stipulated penalties shall continue to accrue as provided in
17     Paragraph 34 during any Dispute Resolution, but need not be paid until the
18     following:
19                   a.     If the dispute is resolved by agreement of the Parties or by a
20     decision of EPA that is not appealed to the Court, Defendant shall pay accrued
21     penalties determined to be owing, together with Interest, to the United States
22     within 30 Days of the effective date of the agreement or the receipt of EPA’s
23     decision or order.
24                   b.     If the dispute is appealed to the Court and the United States
25     prevails in whole or in part, Defendant shall pay all accrued penalties determined
26     by the Court to be owing, together with Interest, within 30 Days of receiving the
27     Court’s decision or order, except as provided in subparagraph c, below.
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 1                  c.     If any Party appeals the District Court’s decision, Defendant
 2     shall pay all accrued penalties determined to be owing, together with Interest,
 3     within 15 Days of receiving the final appellate court decision.
 4
             37.    If Defendant fails to pay stipulated penalties within 30 Days after
 5
       receiving the United States’ written demand, Defendant shall pay Interest on
 6
       unpaid stipulated penalties as follows: (a) if Defendant has timely invoked dispute
 7
       resolution such that the obligation to pay stipulated penalties has been stayed
 8
       pending the outcome of dispute resolution, Interest accrues from the date stipulated
 9
       penalties are due pursuant to Paragraph 36 until the date of payment; and (b) if
10
       Defendant does not timely invoke dispute resolution, Interest accrues from
11
       Defendant’s receipt of the written demand pursuant to Paragraph 35 until the date
12
       of payment. Nothing in this Paragraph limits the United States from seeking any
13
       remedy otherwise provided by law for Defendant’s failure to pay any stipulated
14
       penalties or Interest.
15
             38.    The United States may, in the unreviewable exercise of its discretion,
16
       reduce or waive stipulated penalties otherwise due it under this Consent Decree.
17
             39.    Defendant shall pay stipulated penalties owing to the United States in
18
       the manner set forth and with the confirmation notices required by Paragraphs 9-
19
       10, except that the transmittal letter shall state that the payment is for stipulated
20
       penalties and shall state for which violation(s) the penalties are being paid.
21
             40.    The payment of stipulated penalties and/or Interest pursuant to this
22
       Section shall not alter in any way Defendant’s obligation to complete the
23
       performance of the requirements of this Consent Decree.
24
             41.    Stipulated penalties are not the United States’ exclusive remedy for
25
       violations of this Consent Decree. Subject to the provisions of Section XI (Effect
26
       of Settlement/Reservation of Rights), the stipulated penalties provided for in this
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 1     Consent Decree shall be in addition to any other rights, remedies, or sanctions
 2     available to the United States for Defendant’s violation of this Decree or applicable
 3     law. Where a violation of this Decree is also a violation of relevant statutory or
 4     regulatory requirements, Defendant shall be allowed a credit, for any stipulated
 5     penalties paid, against any statutory penalties imposed for such violation under the
 6     applicable federal requirement.
 7           42.    Obligations Prior to the Effective Date. Upon the Effective Date, the
 8     stipulated penalties provisions of this Decree shall be retroactively enforceable
 9     with regard to any and all violations of Section V (Compliance Requirements) that
10     have occurred prior to the Effective Date of this Decree, provided that stipulated
11     penalties that may have accrued prior to the Effective Date may not be collected
12     unless and until this Consent Decree is entered by the Court.
13                               VIII.     FORCE MAJEURE
14           43.    “Force majeure,” for purposes of this Consent Decree, is defined as
15     any event arising from causes beyond the control of Defendant, of any entity
16     controlled by Defendant, or of Defendant’s contractors, which delays or prevents
17     the performance of any obligation under this Consent Decree despite Defendant’s
18     best efforts to fulfill the obligation. The requirement that Defendant exercise “best
19     efforts to fulfill the obligation” includes using best efforts to anticipate any
20     potential force majeure event and best efforts to address the effects of any potential
21     force majeure event (a) as it is occurring and (b) following the potential force
22     majeure, such that the delay and any adverse effects of the delay are minimized.
23     “Force Majeure” does not include Defendant’s financial inability to perform any
24     obligation under this Consent Decree.
25           44.    If any event occurs or has occurred that may delay the performance of
26     any obligation under this Consent Decree, whether or not caused by a force
27     majeure event, Defendant shall provide notice by electronic transmission to EPA,
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 1     within 72 hours of when Defendant first knew that the event might cause a delay to
 2     the addresses provided in Section XIII (Notices). Within seven Days thereafter,
 3     Defendant shall provide in writing to EPA an explanation and description of the
 4     reasons for the delay; the anticipated duration of the delay; all actions taken or to
 5     be taken to prevent or minimize the delay; a schedule for implementation of any
 6     measures to be taken to prevent or mitigate the delay or the effect of the delay;
 7     Defendant’s rationale for attributing such delay to a force majeure event if it
 8     intends to assert such a claim; and a statement as to whether, in the opinion of
 9     Defendant, such event may cause or contribute to an endangerment to public
10     health, welfare, or the environment. Defendant shall include with any notice all
11     available documentation supporting the claim that the delay was attributable to a
12     force majeure. Failure to comply with the above requirements shall preclude
13     Defendant from asserting any claim of force majeure for that event for the period
14     of time of such failure to comply, and for any additional delay caused by such
15     failure. Defendant shall be deemed to know of any circumstance of which
16     Defendant, any entity controlled by Defendant, or Defendant’s contractors knew or
17     should have known.
18           45.    If EPA agrees that the delay or anticipated delay is attributable to a
19     force majeure event, the time for performance of the obligations under this Consent
20     Decree that are affected by the force majeure event will be extended by EPA for
21     such time as is necessary to complete those obligations. An extension of the time
22     for performance of the obligations affected by the force majeure event shall not, of
23     itself, extend the time for performance of any other obligation. EPA will notify
24     Defendant in writing of the length of the extension, if any, for performance of the
25     obligations affected by the force majeure event.
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 1            46.      If EPA does not agree that the delay or anticipated delay has been or
 2     will be caused by a force majeure event, EPA will notify Defendant in writing of
 3     its decision.
 4            47.      If Defendant elects to invoke the dispute resolution procedures set
 5     forth in Section IX (Dispute Resolution), it shall do so no later than 15 Days after
 6     receipt of EPA’s notice. In any such proceeding, Defendant shall have the burden
 7     of demonstrating by a preponderance of the evidence that the delay or anticipated
 8     delay has been or will be caused by a force majeure event, that the duration of the
 9     delay or the extension sought was or will be warranted under the circumstances,
10     that best efforts were exercised to avoid and mitigate the effects of the delay, and
11     that Defendant complied with the requirements of Paragraphs 43 and 44. If
12     Defendant carries this burden, the delay at issue shall be deemed not to be a
13     violation by Defendant of the affected obligation of this Consent Decree identified
14     to EPA and the Court.
15                               IX.     DISPUTE RESOLUTION
16            48.      Unless otherwise expressly provided for in this Consent Decree, the
17     dispute resolution procedures of this Section shall be the exclusive mechanism to
18     resolve disputes arising under or with respect to this Consent Decree. Defendant’s
19     failure to seek resolution of a dispute under this Section shall preclude Defendant
20     from raising any such issue as a defense to an action by the United States to
21     enforce any obligation of Defendant arising under this Decree.
22            49.      Informal Dispute Resolution. Any dispute subject to Dispute
23     Resolution under this Consent Decree shall first be the subject of informal
24     negotiations. The dispute shall be considered to have arisen when Defendant sends
25     the United States a written Notice of Dispute. Such Notice of Dispute shall state
26     clearly the matter in dispute. The period of informal negotiations shall not exceed
27     20 Days from the date the dispute arises, unless that period is modified by written
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 1     agreement. If the Parties cannot resolve a dispute by informal negotiations, then
 2     the position advanced by the United States shall be considered binding unless,
 3     within 10 Days after the conclusion of the informal negotiation period, Defendant
 4     invokes formal dispute resolution procedures as set forth below.
 5           50.    Formal Dispute Resolution. Defendant shall invoke formal dispute
 6     resolution procedures, within the time period provided in the preceding Paragraph,
 7     by serving on the United States a written Statement of Position regarding the
 8     matter in dispute. The Statement of Position shall include, but need not be limited
 9     to, any factual data, analysis, or opinion supporting Defendant’s position and
10     supporting documentation relied upon by Defendant.
11           51.    The United States shall serve its Statement of Position within 45 Days
12     of receipt of Defendant’s Statement of Position. The United States’ Statement of
13     Position shall include, but need not be limited to, any factual data, analysis, or
14     opinion supporting that position and any supporting documentation relied upon by
15     the United States. The United States’ Statement of Position shall be binding on
16     Defendant, unless Defendant files a motion for judicial review of the dispute in
17     accordance with the following Paragraph.
18           52.    Defendant may seek judicial review of the dispute by filing with the
19     Court and serving on the United States, in accordance with Section XIII (Notices),
20     a motion requesting judicial resolution of the dispute. The motion must be filed
21     within 10 Days of receipt of the United States’ Statement of Position under the
22     preceding Paragraph. The motion shall contain a written statement of Defendant’s
23     position on the matter in dispute, including any supporting factual data, analysis,
24     opinion, or documentation, and shall set forth the relief requested and any schedule
25     within which the dispute must be resolved for orderly implementation of the
26     Consent Decree. The motion may not raise any issue not raised in informal dispute
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 1     resolution pursuant to Paragraph 49, unless the Plaintiffs raise a new issue of law
 2     or fact in the Statement of Position.
 3           53.      The United States shall respond to Defendant’s motion within the time
 4     period allowed by the Local Rules of this Court. Defendant may file a reply
 5     memorandum, to the extent permitted by the Local Rules.
 6           54.      Standard of Review. Except as otherwise provided in this Consent
 7     Decree, in any other dispute brought under Paragraph 50, Defendant shall bear the
 8     burden of demonstrating that its position complies with this Consent Decree, and
 9     that Defendant is entitled to relief under applicable principles of law. The United
10     States reserves the right to argue that its position is reviewable only on the
11     administrative record and must be upheld unless arbitrary and capricious.
12           55.      The invocation of dispute resolution procedures under this Section
13     shall not, by itself, extend, postpone, or affect in any way any obligation of
14     Defendant under this Consent Decree, unless and until final resolution of the
15     dispute so provides. Stipulated penalties with respect to the disputed matter shall
16     continue to accrue from the first Day of noncompliance, but payment shall be
17     stayed pending resolution of the dispute as provided in Paragraph 36. If Defendant
18     does not prevail on the disputed issue, stipulated penalties shall be assessed and
19     paid as provided in Section VII (Stipulated Penalties).
20               X.        INFORMATION COLLECTION AND RETENTION
21           56.      The United States and its representatives, including attorneys,
22     contractors, and consultants, shall have the right of entry into any of Defendant’s
23     business facilities, at all reasonable times, upon presentation of credentials, to:
24                    a.    Monitor the progress of activities required under this Consent
25     Decree;
26                    b.    Verify any data or information submitted to the United States in
27     accordance with the terms of this Consent Decree;
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 1                  c.     Inspect records and any Product(s) regulated under Title II of
 2     the CAA or the regulations promulgated thereunder;
 3                  d.     Obtain documentary evidence, including photographs, software,
 4     or other data or information; and
 5                  e.     Assess Defendant’s compliance with this Consent Decree.
 6           57.    Until two years after the termination of this Consent Decree, unless
 7     otherwise specified herein, Defendant shall retain, and shall instruct its contractors
 8     and agents to preserve, all non-identical copies of all documents, records, or other
 9     information (including documents, records, or other information in electronic
10     form) in its or its contractors’ or agents’ possession or control, or that come into its
11     or its contractors’ or agents’ possession or control, and that relate in any manner to
12     Defendant’s performance of its obligations under this Consent Decree. This
13     information-retention requirement shall apply regardless of any contrary corporate
14     or institutional policies or procedures. At any time during this information-
15     retention period, upon request by the United States, Defendant shall provide copies
16     of any documents, records, or other information required to be maintained under
17     this Paragraph.
18           58.    At the conclusion of the information-retention period provided in the
19     preceding Paragraph, Defendant shall notify the United States at least 90 Days
20     prior to the destruction of any documents, records, or other information subject to
21     the requirements of the preceding Paragraph and, upon request by the United
22     States, Defendant shall deliver any such documents, records, or other information
23     to EPA. Defendant may assert that certain documents, records, or other
24     information is privileged under the attorney-client privilege or any other privilege
25     recognized by federal law. If Defendant asserts such a privilege, it shall provide
26     the following: (a) the title of the document, record, or information; (b) the date of
27     the document, record, or information; (c) the name and title of each author of the
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 1     document, record, or information; (d) the name and title of each addressee and
 2     recipient; (e) a description of the subject of the document, record, or information;
 3     and (f) the privilege asserted by Defendant. However, no documents, records, or
 4     other information created or generated in accordance with the requirements of this
 5     Consent Decree shall be withheld on grounds of privilege.
 6           59.    This Consent Decree in no way limits or affects any right of entry and
 7     inspection, or any right to obtain information, held by the United States pursuant to
 8     applicable federal or state laws, regulations, or permits, nor does it limit or affect
 9     any duty or obligation of Defendant to maintain documents, records, or other
10     information imposed by applicable federal or state laws, regulations, or permits.
11         XI.      EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS
12           60.    This Consent Decree resolves the civil claims of the United States for
13     the violations alleged in the Complaint filed in this action through the Date of
14     Lodging.
15           61.    The United States reserves all legal and equitable remedies available
16     to enforce the provisions of this Consent Decree. This Consent Decree does not
17     limit the rights of the United States to obtain penalties or injunctive relief under the
18     CAA or implementing regulations, or under other federal laws, regulations, or
19     permit conditions, except as expressly specified in Paragraph 60. The United
20     States further reserves all legal and equitable remedies to address any imminent
21     and substantial endangerment to the public health or welfare or the environment
22     arising as a result of Defendant’s business or any of Defendant’s Products, whether
23     related to the violations addressed in this Consent Decree or otherwise.
24           62.    In any subsequent administrative or judicial proceeding initiated by
25     the United States for injunctive relief, civil penalties, or other appropriate relief
26     relating to the Defendant’s operations, Defendant shall not assert, and may not
27     maintain, any defense or claim based upon the principles of waiver, res judicata,
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 1     collateral estoppel, issue preclusion, claim preclusion, claim-splitting, or other
 2     defenses based upon any contention that the claims raised by the United States in
 3     the subsequent proceeding were or should have been brought in the instant case,
 4     except with respect to claims that have been specifically resolved under Paragraph
 5     60.
 6           63.    This Consent Decree is not a permit, or a modification of any permit,
 7     under any federal, State, or local laws or regulations. Defendant is responsible for
 8     achieving and maintaining complete compliance with all applicable federal, State,
 9     and local laws, regulations, and permits; and Defendant’s compliance with this
10     Consent Decree shall be no defense to any action commenced under any such laws,
11     regulations, or permits, except as set forth herein. The United States does not, by
12     its consent to the entry of this Consent Decree, warrant or aver in any manner that
13     Defendant’s compliance with any aspect of this Consent Decree will result in
14     compliance with provisions of the CAA, or with any other provisions of federal,
15     State, or local laws, regulations, or permits.
16           64.    This Consent Decree does not limit or affect the rights of Defendant
17     or of the United States against any third parties, not party to this Consent Decree,
18     nor does it limit the rights of third parties, not party to this Consent Decree, against
19     Defendant, except as otherwise provided by law.
20           65.    Defendant may also assert that information required to be provided
21     under this Section is protected as Confidential Business Information (“CBI”) under
22     40 C.F.R. Part 2. As to any information that Defendant seeks to protect as CBI,
23     Defendant shall follow the procedures set forth in 40 C.F.R. Part 2.
24           66.    This Consent Decree shall not be construed to create rights in, or grant
25     any cause of action to, any third party not party to this Consent Decree.
26           67.    The United States’ agreement to the amount of the civil penalty
27     required by Paragraph 8 of this Consent Decree is based on the Financial
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 1     Information identified in Appendix D. Defendant certifies that the Financial
 2     Information submitted to the United States and generally described in Appendix D
 3     is true, accurate, and complete. Defendant seeks to protect this information as
 4     Confidential Business Information and shall follow the procedures set forth in 40
 5     C.F.R. Part 2.
 6                                       XII.     COSTS
 7           68.    The Parties shall bear their own costs of this action, including
 8     attorneys’ fees, except that the United States shall be entitled to collect the costs
 9     (including attorneys’ fees) incurred in any action necessary to enforce this Consent
10     Decree or collect any portion of the civil penalties or any stipulated penalties due
11     but not paid by Defendant.
12                                     XIII.    NOTICES
13           69.    Unless otherwise specified in this Decree, whenever notifications,
14     submissions, statements of position, or communications are required by this
15     Consent Decree (referred to as “notices” in this section), they shall be made
16     electronically or as described below, unless such notices are unable to be uploaded
17     to the CDX electronic system (in the case of EPA) or transmitted by email in the
18     case of any other recipient. For all notices to EPA, Defendant shall register for the
19     CDX electronic system and upload such notices at https://cdx.gov/epa-home.asp.
20     Any notice that cannot be uploaded or electronically transmitted via email shall be
21     provided in writing to the addresses below:
22
             As to the United States by email:eescdcopy.enrd@usdoj.gov
23
                                             Re: DJ # 90-5-2-1-11994
24

25
             As to the United States by mail: EES Case Management Unit
                                              Environment and Natural Resources
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 1
             Division
                                              U.S. Department of Justice
 2                                            P.O. Box 7611
 3                                            Washington, D.C. 20044-7611
                                              Re: DJ # 90-5-2-1-11963
 4

 5           As to EPA by email:              Brian Riedel
                                              riedel.brian@epa.gov
 6
                                              Re: US v. AFE, Inc.
 7

 8
             As to Defendant by email:        Adam Kushner
                                              Adam.kushner@hoganlovells.com
 9                                            Stuart Miyagishima
10                                            smiyagishima@afepower.com
11           70.    Any Party may, by written notice to the other Parties, change its
12     designated notice recipients or notice addresses provided above.
13           71.    Notices submitted under this Section shall be deemed submitted upon
14     mailing, unless otherwise provided in this Consent Decree or by mutual agreement
15     of the Parties in writing.
16                                  XIV.   EFFECTIVE DATE
17           72.    The Effective Date of this Consent Decree shall be the date upon
18     which this Consent Decree is entered by the Court or a motion to enter the Consent
19     Decree is granted, whichever occurs first, as recorded on the Court’s docket.
20                       XV.        RETENTION OF JURISDICTION
21           73.    The Court shall retain jurisdiction over this case until termination of
22     this Consent Decree, for the purpose of resolving disputes arising under this
23     Decree or entering orders modifying this Decree, under Sections IX (Dispute
24     Resolution) and XVI (Modification), or effectuating or enforcing compliance with
25     the terms of this Decree.
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 1                                XVI.      MODIFICATION
 2           74.    The terms of this Consent Decree, including any attached appendices,
 3     may be modified only by a subsequent written agreement signed by all the Parties.
 4     Where the modification constitutes a material change to this Decree, it shall be
 5     effective only upon approval by the Court.
 6           75.    Any disputes concerning modification of this Decree shall be resolved
 7     under Section IX (Dispute Resolution), provided, however, that, instead of the
 8     burden of proof provided by Paragraph 54, the Party seeking the modification
 9     bears the burden of demonstrating that it is entitled to the requested modification in
10     accordance with Federal Rule of Civil Procedure 60(b).
11                                XVII.     TERMINATION
12           76.    After Defendant has: (a) completed the requirements of Paragraphs
13     18 through 20 for at least four years after the Effective Date; (c) paid the civil
14     penalties required by Section IV, including any accrued Interest; and (d) paid any
15     accrued stipulated penalties determined by the United States to be owing pursuant
16     to Paragraph 31, Defendant may serve upon the United States a Request for
17     Termination, stating that Defendant has satisfied these requirements, together with
18     all necessary supporting documentation.
19           77.    Following receipt by the United States of Defendant’s Request for
20     Termination, the Parties shall confer informally concerning the Request and any
21     disagreement that the Parties may have as to whether Defendant has satisfactorily
22     complied with the requirements for termination of this Consent Decree. If the
23     United States agrees that the Decree may be terminated, the Parties shall submit,
24     for the Court’s approval, a joint stipulation terminating the Decree.
25           78.    If the United States does not agree that the Decree may be terminated,
26     Defendant may invoke Dispute Resolution under Section IX of this Decree.
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 1     However, Defendant shall not seek Dispute Resolution of any dispute regarding
 2     termination until 90 Days after service of its Request for Termination.
 3                         XVIII.      PUBLIC PARTICIPATION
 4           79.    This Consent Decree shall be lodged with the Court for a period of not
 5     less than 30 Days for public notice and comment in accordance with 28 C.F.R.
 6     § 50.7. The United States reserves the right to withdraw or withhold its consent if
 7     the comments regarding the Consent Decree disclose facts or considerations
 8     indicating that the Consent Decree is inappropriate, improper, or inadequate.
 9     Defendant consents to entry of this Consent Decree without further notice and
10     agrees not to withdraw from or oppose entry of this Consent Decree by the Court
11     or to challenge any provision of the Decree, unless the United States has notified
12     Defendant in writing that it no longer supports entry of the Decree.
13                           XIX.      SIGNATORIES/SERVICE
14           80.    Each undersigned representative of the Defendant and the Assistant
15     Attorney General for the Environment and Natural Resources Division of the
16     Department of Justice certifies that he or she is fully authorized to enter into the
17     terms and conditions of this Consent Decree and to execute and legally bind the
18     Party he or she represents to this document.
19           81.    This Consent Decree may be signed in counterparts, and its validity
20     shall not be challenged on that basis. Defendant agrees to accept service of process
21     by mail with respect to all matters arising under or relating to this Consent Decree
22     and to waive the formal service requirements set forth in Rules 4 and 5 of the
23     Federal Rules of Civil Procedure and any applicable Local Rules of this Court
24     including, but not limited to, service of a summons. Defendant need not file an
25     answer to the Complaint in this action unless or until the Court expressly declines
26     to enter this Consent Decree.
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 1                                 XX.       INTEGRATION
 2           82.     This Consent Decree constitutes the final, complete, and exclusive
 3     agreement and understanding among the Parties with respect to the settlement
 4     embodied in the Decree and supersedes all prior agreements and understandings,
 5     whether oral or written, concerning the settlement embodied herein. Other than the
 6     deliverables that are subsequently submitted pursuant to this Consent Decree, no
 7     other document, nor any representation, inducement, agreement, understandings, or
 8     promise constitutes any part of this Decree or the settlement it represents.
 9                              XXI.     FINAL JUDGMENT
10           83.     Upon approval and entry of this Consent Decree by the Court, this
11     Consent Decree shall constitute a final judgment of the Court as to the United
12     States and Defendant.
13                                   XXII.    HEADINGS
14           84.     Headings to the Sections and Subsections of this Consent Decree are
15     provided for convenience and do not affect the meaning or interpretation of the
16     provisions of this Consent Decree.
17          XXIII.     26 U.S.C. SECTION 162(f)(2)(A)(ii) IDENTIFICATION
18           85.     For purposes of the identification requirement of Section
19     162(f)(2)(A)(ii) of the Internal Revenue Code, 26 U.S.C. § 162(f)(2)(A)(ii), and 26
20     C.F.R. § 162-21(b)(2), performance of Section II (Applicability), Paragraph 5;
21     Section V (Compliance Requirements), Paragraphs 18-20; Section VI (Reporting
22     Requirements), Paragraphs 23, 24, 27; and Section X (Information Collection and
23     Retention), Paragraphs 56 – 58, is restitution, remediation, or required to come into
24     compliance with law.
25                                 XXIV.     APPENDICES
26           86.     The following Appendices are attached to and part of this Consent
27     Decree:
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 1           “Appendix A” is a list of Identified Subject Products.
 2           “Appendix B” is a list of Exempt Products.
 3           “Appendix C” is additional criteria for Exempt Products.
 4           “Appendix D” is a general description of the financial information that
 5     Defendant submitted to the United States.
 6           “Appendix E” is language to be included in the notice to customers and
 7     authorized dealers referenced in Paragraph 18.g.
 8           “Appendix F” is language to be included in the notice to employees
 9     referenced in Paragraph 18.h.
10                                         20th dayy of ___________________,
                   Dated and entered this ____            October _          2021.
11

12                                     ________________________________
                                         ____________    ________ ____________
13                                      Jesus G
                                              G.. B
                                                  Bernal,
                                                    ernall, U.S. Di
                                                                 District
                                                                  istrict JJudge
                                                                            udge
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                      APPENDIX A




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                                         AppendixA
ROW           PartNo.                                 Description                        Fuel
2         46Ͳ90071       MANEGRCoolerDeleteDodgeDslTrucks07.5Ͳ09L6             Diesel
3         46Ͳ90072       MANEGRCoolerDeleteDodgeDslTrucks10Ͳ12L6               Diesel
4         46Ͳ90076       EGRTrackKitFordDslTrucks03Ͳ07V8Ͳ6.0L                   Diesel
5         49Ͳ02003       EXH4inTBDodgeDslTrucks04.5Ͳ09L6Ͳ5.9L/6.7L             Diesel
6         49Ͳ02003NM     EXH4inTBDodgeDslTrucks04.5Ͳ09L6Ͳ5.9L/6.7L             Diesel
7         49Ͳ02005       EXH4inTBDodgeDslTrucks07.5Ͳ12L6Ͳ5.9/6.7L              Diesel
8         49Ͳ02005NM     EXH4inTBDodgeDslTrucks07.5Ͳ12L6Ͳ5.9/6.7L              Diesel
9         49Ͳ02030       EXH5inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                  Diesel
10        49Ͳ02030NM     EXH5inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                  Diesel
11        49Ͳ02047       EXH5inTBDodgeDslTrucks13Ͳ17L6Ͳ6.7L                    Diesel
12        49Ͳ02047NM     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LNoTip,CSSusp    Diesel
13        49Ͳ02047NMͲ1   EXH5inTBDodgeDslTrucks13Ͳ17L6Ͳ6.7L                    Diesel
14        49Ͳ02048NM     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LNoTip,LSSusp    Diesel
15        49Ͳ03003       EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0L                     Diesel
16        49Ͳ03003NM     EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0L                     Diesel
17        49Ͳ03004       EXH4inDPͲBackFordDslTrucks08Ͳ10V8Ͳ6.4L                Diesel
18        49Ͳ03004NM     EXH4inDPͲBackFordDslTrucks08Ͳ10V8Ͳ6.4L                Diesel
19        49Ͳ03006       EXH4inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L                Diesel
20        49Ͳ03006NM     EXH4inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L                Diesel
21        49Ͳ03010       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L                     Diesel
22        49Ͳ03011       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L                     Diesel
23        49Ͳ03012       EXH4inRPFordDslTrucks11Ͳ16V8Ͳ6.7L                     Diesel
24        49Ͳ03093       EXH5inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L                Diesel
25        49Ͳ03093NM     EXH5inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L                Diesel
26        49Ͳ04002       EXH4inDPͲBackGMDslTrucks07.5Ͳ10V8Ͳ6.6L                Diesel
27        49Ͳ04002NM     EXH4inDPͲBackGMDslTrucks07.5Ͳ10V8Ͳ6.6L                Diesel
28        49Ͳ04003       EXH4inDPͲBackGMDslTrucks11Ͳ15V8Ͳ6.6L                  Diesel
29        49Ͳ04003NM     EXH4inDPͲBackGMDslTrucks11Ͳ15V8Ͳ6.6L                  Diesel
30        49Ͳ04022       EXH4inRPGMDslTrucks11Ͳ16V8Ͳ6.6L                       Diesel
31        49Ͳ04035       EXH5inDPͲBack;GMDslTrucks11Ͳ14V8Ͳ6.6LNoMflrNoTip   Diesel
32        49Ͳ04053       EXH4inDPͲBackGMDslTrk15.5Ͳ166.6Lnotip               Diesel
33        49Ͳ04053NM     EXH4inDPͲBackGMDslTrk15.5Ͳ166.6L                      Diesel
34        49Ͳ14017NM     EXH4inDPͲBackGMDslTrucks07.5Ͳ10V8Ͳ6.6L                Diesel
35        49Ͳ22013RP     EXH4inRPRAMDslCabChassis11Ͳ12L6Ͳ6.7L                 Diesel
36        49Ͳ22018RP     EXH4inRPRAMDslCabChassis07Ͳ10L6Ͳ6.7L                 Diesel
37        49Ͳ23013NM     EXH4inDPͲBackFordDslCabChassis08Ͳ106.4L              Diesel
38        49Ͳ24010NM     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)             Diesel
39        49Ͳ42030ͲP     EXH5inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                  Diesel
40        49Ͳ42047Ͳ1B    EXH5inTBDodgeDslTrucks13Ͳ17L6Ͳ6.7Lblktip             Diesel
41        49Ͳ42047Ͳ1P    EXH5inTBDodgeDslTrucks13Ͳ17L6Ͳ6.7Lpoltip             Diesel
42        49Ͳ42047ͲB     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LBlkTip,CSSusp   Diesel
43        49Ͳ42047ͲP     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LPolTip,CSSusp   Diesel
44        49Ͳ42048ͲB     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LBlkTip,LSSusp   Diesel


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                                         AppendixA
ROW           PartNo.                                Description                            Fuel
45        49Ͳ43023       EXH4inDPͲBack;FordDslTrucks08Ͳ10V8Ͳ6.4LPolTipNoMflr   Diesel
46        49Ͳ43030       EXH4inDPͲBack;FordDslTrucks08Ͳ10V8Ͳ6.4LPolTipNoMflr   Diesel
47        49Ͳ43035       EXH4inDPͲBack;FordDslTrucks11Ͳ14V8Ͳ6.7LNoMflrPolTip   Diesel
48        49Ͳ43093       EXH5inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L                   Diesel
49        49Ͳ43093ͲB     EXH5inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L                   Diesel
50        49Ͳ43093ͲP     EXH5inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L                   Diesel
51        49Ͳ44017ͲB     EXH4inDPͲBkGMDslTrk07.5Ͳ10V8Ͳ6.6Lblktip                Diesel
52        49Ͳ44017ͲP     EXH4inDPͲBkGMDslTrk07.5Ͳ10V8Ͳ6.6Lpoltip                Diesel
53        49Ͳ44035       EXH5inDPͲBack;GMDslTrucks11Ͳ14V8Ͳ6.6LNoMflr/NoTip      Diesel
54        49Ͳ44053ͲB     EXH4inDPͲBackGMDslTrk15.5Ͳ166.6Lblktip                 Diesel
55        49Ͳ44053ͲP     EXH4inDPͲBackGMDslTrk15.5Ͳ166.6Lpoltip                 Diesel
56        49Ͳ44075ͲB     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)                Diesel
57        49Ͳ44075NM     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)                Diesel
58        49Ͳ44075ͲP     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)                Diesel
59        49Ͳ52009RP     EXH4inRPRAMDslCabChassis11Ͳ12L6Ͳ6.7L                    Diesel
60        49Ͳ52010RP     EXH4inRPRAMDslCabChassis11Ͳ12L6Ͳ6.7L                    Diesel
61        49Ͳ52012RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L                    Diesel
62        49Ͳ52013RP     EXH4inRPRAMDslCabChassis11Ͳ12L6Ͳ6.7L                    Diesel
63        49Ͳ52014RP     EXH4inRPw/MufflerRAMDslCabChassis11Ͳ12L6Ͳ6.7L         Diesel
64        49Ͳ52015RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L                    Diesel
65        49Ͳ52018RP     EXH4inRPRAMDslCabChassis07.5Ͳ10L6Ͳ6.7L                  Diesel
66        49Ͳ53013NM     EXH4inDPͲBackFordDslCabChassis08Ͳ106.4L                 Diesel
67        49Ͳ82009       EXHSensorPlugsDodge:DPF                                      Diesel
68        49Ͳ83022       EXHSensorPlugsFord:DPF                                       Diesel
69        49Ͳ84017       EXHSensorPlugsGM:DPF                                         Diesel
70        49D42048ͲP     EXH5inTB;DodgeDslTrucks13Ͳ15L6Ͳ6.7LPolTip,LSSusp      Diesel
71        49X06128       EXH5inDPͲBackNissanTitanXD16Ͳ17V8Ͳ5.0L(td)               Diesel
72        49X06128NM     EXH5inDPͲBackNissanTitanXD16Ͳ17V8Ͳ5.0L(td)               Diesel
73        49X23012NM     EXH4inDPͲBackFordDslCabChassis11Ͳ176.7L                 Diesel
74        49X46128       EXH5inDPͲBackNissanTitanXD16Ͳ17V8Ͳ5.0L(td)               Diesel
75        49X46128ͲB     EXH5inDPͲBackNissanTitanXD16Ͳ17V8Ͳ5.0L(td)               Diesel
76        49X46128ͲP     EXH5inDPͲBackNissanTitanXD16Ͳ17V8Ͳ5.0L(td)               Diesel
77        49X52019NM     EXH4inTBRAMDslCabChassis07Ͳ10L6Ͳ6.7L                    Diesel
78        49X53012NM     EXH4inDPͲBackFordDslCabChassis11Ͳ176.7L                 Diesel
79        49Ͳ02007       EXH5inTBDodgeDslTrucks04.5Ͳ07L6Ͳ5.9L                     Diesel
80        49Ͳ02007NM     EXH5inTBDodgeDslTrucks04.5Ͳ07L6Ͳ5.9L                     Diesel
81        49Ͳ02009       EXH4inDPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                     Diesel
82        49Ͳ02010       EXH4inRPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                     Diesel
83        49Ͳ02011       EXH4inDPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                     Diesel
84        49Ͳ02054       EXH4inTBRAMDslTrucks13Ͳ17L6Ͳ6.7L                         Diesel
85        49Ͳ02054NM     EXH4inTBRAMDslTrucks13Ͳ17L6Ͳ6.7L                         Diesel
86        49Ͳ02058       EXH4inTBDodgeDslTrucks04.5Ͳ12L6Ͳ5.9/6.7L                 Diesel
87        49Ͳ02058NM     EXH4inTBDodgeDslTrucks04.5Ͳ12L6Ͳ5.9/6.7L                 Diesel


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                                         AppendixA
ROW           PartNo.                                 Description                  Fuel
88        49Ͳ03039       EXH5inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L          Diesel
89        49Ͳ03039NM     EXH5inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L          Diesel
90        49Ͳ03098       EXH4inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L          Diesel
91        49Ͳ03098NM     EXH4inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L          Diesel
92        49Ͳ03099       EXH4inRPFordDslTrucks17Ͳ19V8Ͳ6.7L               Diesel
93        49Ͳ03099NM     EXH4inRPFordDslTrucks17Ͳ19V8Ͳ6.7L               Diesel
94        49Ͳ04010       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
95        49Ͳ04011       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
96        49Ͳ04012       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
97        49Ͳ04013       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6LECLB          Diesel
98        49Ͳ04014       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
99        49Ͳ04015       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
100       49Ͳ04035Ͳ1     EXH5inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6L                 Diesel
101       49Ͳ04035NM     EXH5inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6L                  Diesel
102       49Ͳ04054       EXH5inDPͲBackGMDslTrk15.5Ͳ16V8Ͳ6.6L             Diesel
103       49Ͳ04054NM     EXH5inDPͲBackGMDslTrk15.5Ͳ16V8Ͳ6.6L             Diesel
104       49Ͳ04087       EXH5inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel
105       49Ͳ04087NM     EXH5inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel
106       49Ͳ12009Ͳ1     EXH4inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L            Diesel
107       49Ͳ13004       EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0L               Diesel
108       49Ͳ42007       EXH5inTBDodgeDslTrucks04.5Ͳ07L6Ͳ5.9L            Diesel
109       49Ͳ42009Ͳ1     EXH4inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L            Diesel
110       49Ͳ42054ͲB     EXH4inTBRAMDslTrucks13Ͳ17L6Ͳ6.7Lblktip        Diesel
111       49Ͳ42054ͲP     EXH4inTBRAMDslTrucks13Ͳ17L6Ͳ6.7Lpoltip        Diesel
112       49Ͳ43004       EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0L               Diesel
113       49Ͳ43024       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L               Diesel
114       49Ͳ43025       EXH4inDPFordDslTrucks08Ͳ10V8Ͳ6.4L               Diesel
115       49Ͳ43026       EXH3.5inRPFordDslTrucks08Ͳ10V8Ͳ6.4L             Diesel
116       49Ͳ43027       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L               Diesel
117       49Ͳ43031       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L               Diesel
118       49Ͳ43039       EXH5inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L          Diesel
119       49Ͳ43039NM     EXH5inDPͲBackFordDslTrucks11Ͳ16V8Ͳ6.7L          Diesel
120       49Ͳ43098       EXH4inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L          Diesel
121       49Ͳ43098ͲB     EXH4inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L          Diesel
122       49Ͳ43098ͲP     EXH4inDPͲBackFordDslTrucks17Ͳ19V8Ͳ6.7L          Diesel
123       49Ͳ43099       EXH4inRPFordDslTrucks17Ͳ19V8Ͳ6.7L               Diesel
124       49Ͳ43099NM     EXH4inRPFordDslTrucks17Ͳ19V8Ͳ6.7L               Diesel
125       49Ͳ44019       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
126       49Ͳ44020       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
127       49Ͳ44021       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
128       49Ͳ44022       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
129       49Ͳ44023       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel
130       49Ͳ44024       EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L               Diesel


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                                         AppendixA
ROW           PartNo.                                Description                           Fuel
131       49Ͳ44027       EXH4inRPGMDslTrucks11Ͳ16V8Ͳ6.6LmidͲpipe                Diesel
132       49Ͳ44032       EXH4inDPͲBkGMDslTrucks11Ͳ156.6Lw/mflr                   Diesel
133       49Ͳ44035ͲB     EXH5inDPͲBackGMDslTrk11Ͳ15V8Ͳ6.6Lblktip               Diesel
134       49Ͳ44035NM     EXH5inDPͲBkGMDslTrk11Ͳ156.6Lwomflrnotip              Diesel
135       49Ͳ44035ͲP     EXH5inDPͲBackGMDslTrk11Ͳ15V8Ͳ6.6Lpoltip               Diesel
136       49Ͳ44054ͲB     EXH5inDPͲBackGMDslTrk15.5Ͳ166.6Lblktip                Diesel
137       49Ͳ44054ͲP     EXH5inDPͲBackGMDslTrk15.5Ͳ166.6Lpoltip                Diesel
138       49Ͳ44073ͲB     EXH3inDPͲBackGMColorado/Canyon16Ͳ192.8L                  Diesel
139       49Ͳ44073NM     EXH3inDPͲBackGMColorado/Canyon16Ͳ192.8L                  Diesel
140       49Ͳ44073ͲP     EXH3inDPͲBackGMColorado/Canyon16Ͳ192.8L                  Diesel
141       49Ͳ44087       EXH5inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                       Diesel
142       49Ͳ44087ͲB     EXH5inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                       Diesel
143       49Ͳ44087ͲP     EXH5inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                       Diesel
144       49Ͳ02050       EXH4inRPRAMDslTrucks13Ͳ17L6Ͳ6.7L                        Diesel
145       49Ͳ02055       EXH4inRPRAMDslTrucks13Ͳ17L6Ͳ6.7L                        Diesel
146       49Ͳ03040       EXH5inDPͲBack;FordDslTrucks08Ͳ10V8Ͳ6.4LNoMflrNoTip   Diesel
147       49Ͳ03040Ͳ1     EXH5inDPͲBkFordDslTrk08Ͳ106.4L                          Diesel
148       49Ͳ03040NM     EXH5inDPͲBkFordDslTrk08Ͳ106.4L                          Diesel
149       49Ͳ03077       EXH5inTBFordDslTrucks03Ͳ07V8Ͳ6.0L                       Diesel
150       49Ͳ03077NM     EXH5inTBFordDslTrucks03Ͳ07V8Ͳ6.0L                       Diesel
151       49Ͳ04021       EXH4inRPGMDslTrucks11Ͳ15V8Ͳ6.6L                         Diesel
152       49Ͳ04033NM     EXH5inDPͲBackGMDslTrucks07.5Ͳ10V8Ͳ6.6L                  Diesel
153       49Ͳ04044ͲB     EXH4inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6LblkͲdual                 Diesel
154       49Ͳ04044ͲP     EXH4inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6LpolͲdual                 Diesel
155       49Ͳ04052       EXH4inDPͲBkGMDslTruck15.5Ͳ166.6Ldual                    Diesel
156       49Ͳ04055       EXH4inRPGMDslTrucks15.5Ͳ16V8Ͳ6.6L                       Diesel
157       49Ͳ04066       EXH4inRPGMDslTrucks11Ͳ15V8Ͳ6.6L                         Diesel
158       49Ͳ04067       EXH4inRPGMDslTrucks15.5Ͳ16V8Ͳ6.6L                       Diesel
159       49Ͳ04090       EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                       Diesel
160       49Ͳ04090NM     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                       Diesel
161       49Ͳ06129       EXH4inRPNissanTitanXD16Ͳ19V8Ͳ5.0L(td)                  Diesel
162       49Ͳ06129NM     EXH4inRPNissanTitanXD16Ͳ19V8Ͳ5.0L(td)                  Diesel
163       49Ͳ12004       EXH4inTBDodgeDslTrucks04.5Ͳ07L6Ͳ5.9L                    Diesel
164       49Ͳ13022       EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lw/bungs               Diesel
165       49Ͳ42004       EXH4inTBDodgeDslTrucks04.5Ͳ07L6Ͳ5.9L                    Diesel
166       49Ͳ42020       EXH4inRPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                    Diesel
167       49Ͳ42021       EXH4inDPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                    Diesel
168       49Ͳ42022       EXH4inRPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                    Diesel
169       49Ͳ42023       EXH4inDPDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L                    Diesel
170       49Ͳ42029       EXH4inRPDodgeDslTrucks11Ͳ12L6Ͳ6.7L                      Diesel
171       49Ͳ42050       EXH4inRPRAMDslTrucks13Ͳ17L6Ͳ6.7L                        Diesel
172       49Ͳ42055       EXH4inRPRAMDslTrucks13Ͳ17L6Ͳ6.7L                        Diesel
173       49Ͳ43022       EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lwmflr               Diesel


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                                        AppendixA
ROW           PartNo.                                Description                   Fuel
174       49Ͳ43035NM     EXH4inDPͲBkFordDslTruck11Ͳ16V8Ͳ6.7Lwomflr      Diesel
175       49Ͳ43036       EXH4inRPFordDslTrucks11Ͳ16V8Ͳ6.7L               Diesel
176       49Ͳ43040       EXH5inDPͲBackFordDslTrucks08Ͳ10V8Ͳ6.4L          Diesel
177       49Ͳ43040ͲB     EXH5inDPͲBackFordDslTrucks08Ͳ10V8Ͳ6.4L          Diesel
178       49Ͳ43040ͲP     EXH5inDPͲBackFordDslTrucks08Ͳ10V8Ͳ6.4L          Diesel
179       49Ͳ43077ͲB     EXH5inTBFordDslTrucks03Ͳ07V8Ͳ6.0L               Diesel
180       49Ͳ43077ͲP     EXH5inTBFordDslTrucks03Ͳ07V8Ͳ6.0L               Diesel
181       49Ͳ43096ͲB     EXH4inDPͲBackFordDslTrucks17Ͳ18V8Ͳ6.7L          Diesel
182       49Ͳ43096ͲP     EXH4inDPͲBackFordDslTrucks17Ͳ18V8Ͳ6.7L          Diesel
183       49Ͳ43097ͲB     EXH4inDPͲBackFordDslTrucks17Ͳ196.7Ldual        Diesel
184       49Ͳ43097ͲP     EXH4inDPͲBackFordDslTrucks17Ͳ196.7Ldual        Diesel
185       49Ͳ44025       EXH4inCBGMDslTrucks11Ͳ16V8Ͳ6.6L                 Diesel
186       49Ͳ44026NM     EXH4inCBGMDslTruck11Ͳ166.6Lwomflrnotip       Diesel
187       49Ͳ44028       EXH4inRPGMDslTrucks11Ͳ15V8Ͳ6.6LfrntͲpipe       Diesel
188       49Ͳ44030NM     EXH5inCBGMDslTrucks11Ͳ166.6Lwomflrnotip      Diesel
189       49Ͳ44033ͲB     EXH5inDPͲBkGMDslTrk07.5Ͳ10V8Ͳ6.6Lblktip       Diesel
190       49Ͳ44033NM     EXH5inDPͲBkGMDslTrk07.5Ͳ10V8Ͳ6.6Lnotip        Diesel
191       49Ͳ44033ͲP     EXH5inDPͲBkGMDslTrk07.5Ͳ10V8Ͳ6.6Lpoltip       Diesel
192       49Ͳ44044ͲB     EXH4inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6LblkͲdual         Diesel
193       49Ͳ44044ͲP     EXH4inDPͲBkGMDslTrk11Ͳ15V8Ͳ6.6LpolͲdual         Diesel
194       49Ͳ44052ͲB     EXH4inDPͲBkGMDslTruck15.5Ͳ166.6LblkͲdual        Diesel
195       49Ͳ44052ͲP     EXH4inDPͲBkGMDslTruck15.5Ͳ166.6LpolͲdual        Diesel
196       49Ͳ44055       EXH4inRPGMDslTrucks15.5Ͳ16V8Ͳ6.6L               Diesel
197       49Ͳ44066       EXH4inRPGMDslTrucks11Ͳ15V8Ͳ6.6L                 Diesel
198       49Ͳ44067       EXH4inRPGMDslTrucks15.5Ͳ16V8Ͳ6.6L               Diesel
199       49Ͳ44074ͲB     EXH3inDPͲBackGMColorado/Canyon16Ͳ192.8L          Diesel
200       49Ͳ44074ͲP     EXH3inDPͲBackGMColorado/Canyon16Ͳ192.8L          Diesel
201       49Ͳ44077       EXH2.5inDPGMColorado/Canyon16Ͳ192.8L(td)        Diesel
202       49Ͳ44090       EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel
203       49Ͳ44090ͲB     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel
204       49Ͳ44090ͲP     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel
205       49Ͳ46129       EXH4inRPNissanTitanXD16Ͳ19V8Ͳ5.0L(td)          Diesel
206       49Ͳ46129NM     EXH4inRPNissanTitanXD16Ͳ19V8Ͳ5.0L(td)          Diesel
207       48Ͳ34008       HDRUP/DPGMDslTrucks04.5Ͳ10V8Ͳ6.6L(td)            Diesel
208       49Ͳ03066ͲP     EXH4inDPͲBkFordDslTrk11Ͳ16V8Ͳ6.7Lpoltips       Diesel
209       49Ͳ04079       EXH4inRPGMDslTrucks07.5Ͳ106.6LCCSB/ECSB        Diesel
210       49Ͳ04083       EXH4inRPGMDslTrucks07.5Ͳ106.6LCCLB/ECLB        Diesel
211       49Ͳ06127NM     EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0L(td)      Diesel
212       49Ͳ13029       EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lnobungs       Diesel
213       49Ͳ22001NM     EXH4inTBRAMDslTrucks13Ͳ18L6Ͳ6.7L                 Diesel
214       49Ͳ22002NM     EXH4inTBDodge/RAMDslTrucks04.5Ͳ12L6Ͳ5.9/6.7L     Diesel
215       49Ͳ22005RP     EXH4inDPRAMDslTrucks13Ͳ18L6Ͳ6.7L                 Diesel
216       49Ͳ22006RP     EXH4inRPRAMDslTrucks13Ͳ18L6Ͳ6.7L                 Diesel


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                                         AppendixA
ROW           PartNo.                                Description                   Fuel
217       49Ͳ22007RP     EXH4inDPDodge/RAMDslTrucks07.5Ͳ12L6Ͳ6.7L         Diesel
218       49Ͳ22008RP     EXH4inRPDodge/RAMDslTrucks07.5Ͳ12L6Ͳ6.7L         Diesel
219       49Ͳ22011RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L           Diesel
220       49Ͳ22012RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L           Diesel
221       49Ͳ22015RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L           Diesel
222       49Ͳ22017NM     EXH5inTBRAMDslCabChassis11Ͳ18L6Ͳ6.7L           Diesel
223       49Ͳ23001NM     EXH4inTBFordDslTrucks17Ͳ19V8Ͳ6.7L                Diesel
224       49Ͳ23002NM     EXH4inTBFordDslTrucks11Ͳ16V8Ͳ6.7L                Diesel
225       49Ͳ23003NM     EXH4inTBFordDslTrucks08Ͳ10V8Ͳ6.4L                Diesel
226       49Ͳ23004NM     EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0L                Diesel
227       49Ͳ23006RP     EXH4inRPFordDslTrucks17Ͳ19V8Ͳ6.7L                Diesel
228       49Ͳ23007RP     EXH4inRPFordDslTrucks11Ͳ16V8Ͳ6.7L                Diesel
229       49Ͳ23008RP     EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L                Diesel
230       49Ͳ24001NM     EXH4inTBGMDslTrucks17Ͳ19V8Ͳ6.6L                  Diesel
231       49Ͳ24002NM     EXH4inTBGMDslTrucks15.5Ͳ16V8Ͳ6.6L                Diesel
232       49Ͳ24003NM     EXH4inTBGMDslTrucks11Ͳ15V8Ͳ6.6L                  Diesel
233       49Ͳ24005RP     EXH4inRPGMDslTrucks17Ͳ19V8Ͳ6.6L                  Diesel
234       49Ͳ24006RP     EXH4inRPGMDslTrucks15.5Ͳ16V8Ͳ6.6L                Diesel
235       49Ͳ24007RP     EXH4inRPGMDslTrucks11Ͳ15V8Ͳ6.6L                  Diesel
236       49Ͳ24008RP     EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L(ShortBed)    Diesel
237       49Ͳ24009RP     EXH4inRPGMDslTrucks07.5Ͳ10V8Ͳ6.6L(LongBed)     Diesel
238       49Ͳ26101NM     EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0Ltd       Diesel
239       49Ͳ26102RP     EXH4inRPNissanTitanXD16Ͳ19V8Ͳ5.0L(td)          Diesel
240       49Ͳ42010NMͲ1   EXH4inTBDodgeDslTrucks07.5Ͳ12L6Ͳ6.7L            Diesel
241       49Ͳ43010       EXH4inTBFordExcursion03Ͳ05V8Ͳ6.0L                Diesel
242       49Ͳ43016       EXH4inTBFordDslTrucks03Ͳ07V8Ͳ6.0Ldual          Diesel
243       49Ͳ43023NM     EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lwomflr      Diesel
244       49Ͳ43029       EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lwmflr        Diesel
245       49Ͳ43030NM     EXH4inDPͲBkFordDslTruck08Ͳ10V8Ͳ6.4Lwomflr      Diesel
246       49Ͳ43032       EXH4inRPFordDslTrucks08Ͳ10V8Ͳ6.4L               Diesel
247       49Ͳ43034       EXH4inDPͲBkFordDslTruck11Ͳ16V8Ͳ6.7Lwmflr       Diesel
248       49Ͳ43066ͲB     EXH4inDPͲBkFordDslTrk11Ͳ16V8Ͳ6.7Lblktips       Diesel
249       49Ͳ43066ͲP     EXH4inDPͲBkFordDslTrk11Ͳ16V8Ͳ6.7Lpoltips       Diesel
250       49Ͳ44029ͲB     EXH5inCBGMDslTrucks11Ͳ166.6Lw/mflrblktip      Diesel
251       49Ͳ44029ͲP     EXH5inCBGMDslTrucks11Ͳ166.6Lw/mflrpoltip      Diesel
252       49Ͳ44031NM     EXH4inDPͲBkGMDslTrk11Ͳ156.6Lwomflrnotip      Diesel
253       49Ͳ44076ͲB     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)       Diesel
254       49Ͳ44076ͲP     EXH3inTBGMColorado/Canyon16Ͳ19I4Ͳ2.8L(td)       Diesel
255       49Ͳ44079       EXH4inRPGMDslTrucks07.5Ͳ106.6LCCSB/ECSB        Diesel
256       49Ͳ44083       EXH4inRPGMDslTrucks07.5Ͳ106.6LCCLB/ECLB        Diesel
257       49Ͳ44091ͲB     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6LblkͲdual      Diesel
258       49Ͳ44091ͲP     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6LpolͲdual      Diesel
259       49Ͳ44092ͲB     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L               Diesel


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                                         AppendixA
ROW           PartNo.                                Description                      Fuel
260       49Ͳ44092ͲP     EXH4inDPͲBackGMDslTrk17Ͳ19V8Ͳ6.6L                  Diesel
261       49Ͳ46127       EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0L(td)         Diesel
262       49Ͳ46127ͲB     EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0L(td)         Diesel
263       49Ͳ46127ͲP     EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0L(td)         Diesel
264       49Ͳ52011RP     EXH4inRPRAMDslCabChassis13Ͳ18L6Ͳ6.7L              Diesel
265       49Ͳ52016RP     EXH4inRPw/MufflerRAMDslCabChassis13Ͳ18L6Ͳ6.7L   Diesel
266       49Ͳ52017NM     EXH5inTBRAMDslTrucks11Ͳ18L6Ͳ6.7L                   Diesel
267       46Ͳ60076       T/CAdapter,HighFlowFordDslTks99.5Ͳ037.3L           Diesel
268       48Ͳ34133       HDR&UpͲPipesGMDieselTrucks11Ͳ15V8Ͳ6.6L              Diesel
269       49Ͳ06127       EXH4inDPͲBackNissanTitanXD16Ͳ19V8Ͳ5.0L(td)         Diesel
270       49Ͳ02001       EXH4inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                 Diesel
271       49Ͳ02001NM     EXH4inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                 Diesel
272       49Ͳ02002       EXH4inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9L                 Diesel
273       49Ͳ02002NM     EXH4inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9L                 Diesel
274       49Ͳ02032       EXH5inTBDodgeDslTrucks03Ͳ04.5L6Ͳ5.9L               Diesel
275       49Ͳ02032NM     EXH5inTBDodgeDslTrucks03Ͳ04.5L6Ͳ5.9L               Diesel
276       49Ͳ02033       EXH5inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                 Diesel
277       49Ͳ02033NM     EXH5inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                 Diesel
278       49Ͳ03001       EXH4inTBFordDslTrucks94Ͳ97V8Ͳ7.3L                  Diesel
279       49Ͳ03001NM     EXH4inTBFordDslTrucks94Ͳ97V8Ͳ7.3L                  Diesel
280       49Ͳ03002       EXH4inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
281       49Ͳ03002NM     EXH4inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
282       49Ͳ03075       EXH5inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
283       49Ͳ03075NM     EXH5inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
284       49Ͳ03100       EXH4inDPFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
285       49Ͳ04001       EXH4inDPͲBackGMDslTrucks01Ͳ07V8Ͳ6.6L               Diesel
286       49Ͳ04001NM     EXH4inDPͲBackGMDslTrucks01Ͳ07V8Ͳ6.6L               Diesel
287       49Ͳ04007NM     EXH5inDPͲBackGMDslTrucks01Ͳ07V8Ͳ6.6L               Diesel
288       49Ͳ04045ͲB     EXH4inDPͲBkGMDslTrk01Ͳ07V8Ͳ6.6blkͲdual             Diesel
289       49Ͳ04045ͲP     EXH4inDPͲBkGMDslTrk01Ͳ07V8Ͳ6.6polͲdual             Diesel
290       49Ͳ04059       EXH4inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6Lnotip           Diesel
291       49Ͳ04059NM     EXH4inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6L                  Diesel
292       49Ͳ04060       EXH5inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6L                  Diesel
293       49Ͳ04060NM     EXH5inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6L                  Diesel
294       49Ͳ12001       EXH4inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                 Diesel
295       49Ͳ12003       EXH4inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9L                 Diesel
296       49Ͳ13001       EXH4inTBFordDslTrucks94Ͳ97V8Ͳ7.3L                  Diesel
297       49Ͳ13002       EXH4inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                  Diesel
298       49Ͳ14003       EXH4inDPͲBackGMDslTrucks01Ͳ07V8Ͳ6.6L               Diesel
299       49Ͳ14003NM     EXH4inDPͲBackGMDslTrucks01Ͳ07V8Ͳ6.6L               Diesel
300       49Ͳ22003NM     EXH4inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9L                  Diesel
301       49Ͳ22004NM     EXH4inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L                  Diesel
302       49Ͳ23005NM     EXH4inTBFordDslTrucks99Ͳ03V8Ͳ7.3L                   Diesel


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                                         AppendixA
ROW           PartNo.                                Description                   Fuel
303       49Ͳ23011NM     EXH4inTBFordDslTrucks94Ͳ97V8Ͳ7.3L               Diesel
304       49Ͳ24004NM     EXH4inTBGMDslTrucks01Ͳ10V8Ͳ6.6L                  Diesel
305       49Ͳ42001       EXH4inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9L              Diesel
306       49Ͳ42003       EXH4inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9L              Diesel
307       49Ͳ42032ͲB     EXH5inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9Lblktip       Diesel
308       49Ͳ42032ͲP     EXH5inTBDodgeDslTrucks03Ͳ04L6Ͳ5.9Lpoltip       Diesel
309       49Ͳ42033ͲB     EXH5inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9Lblktip       Diesel
310       49Ͳ42033NM     EXH5inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9Lnotip        Diesel
311       49Ͳ42033ͲP     EXH5inTBDodgeDslTrucks94Ͳ02L6Ͳ5.9Lpoltip       Diesel
312       49Ͳ43001       EXH4inTBFordDslTrucks94Ͳ97V8Ͳ7.3L               Diesel
313       49Ͳ43002       EXH4inTBFordDslTrucks99Ͳ03V8Ͳ7.3L               Diesel
314       49Ͳ43075ͲB     EXH5inTBFordDslTrucks99Ͳ03V8Ͳ7.3L               Diesel
315       49Ͳ43075ͲP     EXH5inTBFordDslTrucks99Ͳ03V8Ͳ7.3L               Diesel
316       49Ͳ44003ͲB     EXH4inDPͲBkGMDslTrucks01Ͳ07V8Ͳ6.6Lblktip       Diesel
317       49Ͳ44003ͲP     EXH4inDPͲBkGMDslTrucks01Ͳ07V8Ͳ6.6Lpoltip       Diesel
318       49Ͳ44007ͲB     EXH5inDPͲBkGMDslTrucks01Ͳ07V8Ͳ6.6Lblktip       Diesel
319       49Ͳ44007NM     EXH5inDPͲBkGMDslTrucks01Ͳ07V8Ͳ6.6Lnotip        Diesel
320       49Ͳ44007ͲP     EXH5inDPͲBkGMDslTrucks01Ͳ07V8Ͳ6.6Lpoltip       Diesel
321       49Ͳ44045ͲB     EXH4inDPͲBkGMDslTrk01Ͳ07V8Ͳ6.6blkͲdual          Diesel
322       49Ͳ44045ͲP     EXH4inDPͲBkGMDslTrk01Ͳ07V8Ͳ6.6polͲdual          Diesel
323       49Ͳ44059ͲB     EXH4inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6Lblktip       Diesel
324       49Ͳ44059ͲP     EXH4inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6Lpoltip       Diesel
325       49Ͳ44060ͲB     EXH5inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6Lblktip       Diesel
326       49Ͳ44060ͲP     EXH5inDPͲBackGMDslTrk01Ͳ10V8Ͳ6.6Lpoltip       Diesel
327       48Ͳ02003       HDRYͲPipeDodgeRAMTrucks09Ͳ19V8Ͳ5.7L               Gas
328       48Ͳ02004       HDRYͲPipeDodgeRAMTrucks09Ͳ15V8Ͳ5.7L               Gas
329       48Ͳ03006       HDRYͲPipeFordFͲ15011Ͳ14V6Ͳ3.5L(tt)                Gas
330       48Ͳ03007       HDRYͲPipeFordFͲ15011Ͳ14V6Ͳ3.5L(tt)                Gas
331       48Ͳ32007ͲYC    HDR&CͲPipeDodgeChallenger11Ͳ146.4L                Gas
332       48Ͳ32011ͲYC    HDR&CͲPipeDodgeCharger09Ͳ18V8Ͳ5.7L                Gas
333       48Ͳ32011ͲYN    HDR&CͲPipeDodgeCharger09Ͳ16V8Ͳ5.7L                Gas
334       48Ͳ32012ͲYC    HDR&CͲPipeDodgeChallengerHellcat15Ͳ196.2L        Gas
335       48Ͳ32012ͲYN    DodgeChallenger/ChargerSRTHellcatV8Ͳ6.2L(sc)       Gas
336       48Ͳ32014ͲYC    HDR&CͲPipeDodgeChallengerHellcat15Ͳ196.2L        Gas
337       48Ͳ32014ͲYN    DodgeChallenger/ChargerSRTHellcatV8Ͳ6.2L(sc)       Gas
338       48Ͳ32015ͲYC    HDRCͲPipeDodgeChallengerHellcat15Ͳ196.2L          Gas
339       48Ͳ32015ͲYN    DodgeHellcat15Ͳ17SRTͲ8V8Ͳ6.2L/392V8Ͳ6.4L         Gas
340       48Ͳ32022ͲRC    HDRCͲPipeDodgeChallenger09Ͳ19V8Ͳ5.7L               Gas
341       48Ͳ32022ͲRN    HDRCͲPipeDodgeChallenger09Ͳ18V8Ͳ5.7L               Gas
342       48Ͳ32025ͲYC    HDR&YͲPipeRAM150019Ͳ20V8Ͳ5.7L                     Gas
343       48Ͳ32025ͲYN    HDR&YͲPipeRAM150019Ͳ20V8Ͳ5.7L                     Gas
344       48Ͳ32026ͲYC    HDRCͲPipeDodgeChallenger11Ͳ20V6Ͳ3.6L               Gas
345       48Ͳ32026ͲYN    HDRCͲPipeDodgeChallenger11Ͳ20V6Ͳ3.6L               Gas


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                                        AppendixA
ROW           PartNo.                                Description                  Fuel
346       48Ͳ32027ͲYC    HDR&MidPipeDodgeCharger15Ͳ20V8Ͳ5.7L              Gas
347       48Ͳ32028ͲYC    HDR&MidPipeDodgeChallengerHellcat15Ͳ206.2L      Gas
348       48Ͳ33002ͲYC    HDR&YͲPipeFordFͲ150Raptor11Ͳ146.2L               Gas
349       48Ͳ33012ͲYC    HDR&CͲPipeFordMustangGT15Ͳ19V8Ͳ5.0L              Gas
350       48Ͳ33017ͲHC    HDRDPFordMustang15Ͳ19I4Ͳ2.3L(t)                   Gas
351       48Ͳ33017ͲHN    HDRDPFordMustang15Ͳ17I4Ͳ2.3L(t)                   Gas
352       48Ͳ33021ͲHC    HDRDPFordFͲ150Raptor17Ͳ19V6Ͳ3.5L(tt)             Gas
353       48Ͳ33021ͲHN    FordFͲ150Raptor2017V6Ͳ3.5L(tt)                     Gas
354       48Ͳ33024ͲHN    HDRDPFordFocusRS16Ͳ18L4Ͳ2.3L(t)                  Gas
355       48Ͳ33028ͲHC    HDRDPFordRanger19Ͳ20L4Ͳ2.3L(t)                    Gas
356       48Ͳ33028ͲHN    HDRDPFordRanger19Ͳ20L4Ͳ2.3L(t)                    Gas
357       48Ͳ34103ͲYC    HDR&XͲPipeCorvetteC597Ͳ04V8Ͳ5.7L                  Gas
358       48Ͳ34103ͲYN    HDR&XͲPipeCorvetteC597Ͳ04V8Ͳ5.7L                  Gas
359       48Ͳ34105ͲYC    HDR&XͲPipeCorvetteC605Ͳ086.0/6.2L                 Gas
360       48Ͳ34105ͲYN    HDR&XͲPipeCorvetteC605Ͳ086.0/6.2L                 Gas
361       48Ͳ34107ͲYC    HDR&XͲPipeCorvetteZ06C606Ͳ136.2/7.0L             Gas
362       48Ͳ34107ͲYN    HDR&XͲPipeCorvetteZ06C606Ͳ136.2/7.0L             Gas
363       48Ͳ34109ͲYC    HDR&XͲPipeCorvetteC609Ͳ13V8Ͳ6.2L                  Gas
364       48Ͳ34109ͲYN    HDR&XͲPipeCorvetteC609Ͳ13V8Ͳ6.2L                  Gas
365       48Ͳ34112ͲYC    HDR&XͲPipeCorvetteC714Ͳ19V8Ͳ6.2L                  Gas
366       48Ͳ34112ͲYN    HDR&XͲPipeCorvetteC714Ͳ16V8Ͳ6.2L                  Gas
367       48Ͳ34123ͲYC    HDR&CͲPipeChevroletCamaro10Ͳ15V8Ͳ6.2L             Gas
368       48Ͳ34123ͲYN    HDR&CͲPipeChevroletCamaro10Ͳ15V8Ͳ6.2L             Gas
369       48Ͳ34125ͲYC    HDR&CͲPipeCadillacCTSͲV09Ͳ156.2L(sc)             Gas
370       48Ͳ34125ͲYN    HDR&CͲPipeCadillacCTSͲV09Ͳ156.2L(sc)             Gas
371       48Ͳ34126ͲHN    HDRDPCadillacATS13Ͳ16L4Ͳ2.0L(t)                   Gas
372       48Ͳ34127ͲYC    HDR&XͲPipeChevroletCamaro16Ͳ19V8Ͳ6.2L             Gas
373       48Ͳ34127ͲYN    HDR&XͲPipeChevroletCamaro2016V8Ͳ6.2L              Gas
374       48Ͳ34128ͲHC    HDRDPCadillacATSͲV16Ͳ19V6Ͳ3.0L(tt)                Gas
375       48Ͳ34128ͲHN    CadillacATSͲV16Ͳ17V6Ͳ3.6L(tt)                       Gas
376       48Ͳ34129ͲYN    ChevroletCorvette(C7)14Ͳ17V8Ͳ6.2L                   Gas
377       48Ͳ34130ͲYN    ChevroletCorvette(C7)14Ͳ17V8Ͳ6.2L                   Gas
378       48Ͳ34132ͲPK    ChevroletCorvette(C7)14Ͳ17V8Ͳ6.2L                   Gas
379       48Ͳ34135ͲRC    HDRYͲPipeGMTrucks150019Ͳ20V8Ͳ5.3L                 Gas
380       48Ͳ34135ͲRN    HDRYͲPipeGMTrucks150019Ͳ20V8Ͳ5.3L                 Gas
381       48Ͳ34136ͲRC    HDRYͲPipeGMTrucks150019Ͳ20V8Ͳ6.2L                 Gas
382       48Ͳ34136ͲRN    HDRYͲPipeGMTrucks150019Ͳ20V8Ͳ6.2L                 Gas
383       48Ͳ34138ͲYC    HDRDPGM150019Ͳ20L4Ͳ2.7L(t)                        Gas
384       48Ͳ34143ͲYC    HDR&MidPipeChevroletCamaro16Ͳ20V8Ͳ6.2L           Gas
385       48Ͳ34146ͲYC    HDR&YͲPipeGMTrucks2500/3500HD2020V8Ͳ6.6L         Gas
386       48Ͳ34147ͲRC    HDRYͲPipeGMTrucks2500/3500HD2020V8Ͳ6.6L           Gas
387       48Ͳ34149ͲRC    HDRPowerPipeChevroletCorvette(C8)20206.2L        Gas
388       48Ͳ34149ͲRCS   HDRPowerPipeChevroletCorvette(C8)20206.2L        Gas


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                                        AppendixA
ROW           PartNo.                                Description                  Fuel
389       48Ͳ36005ͲHN    HDRScionFRͲS/BRZ13Ͳ16H4Ͳ2.0L                        Gas
390       48Ͳ36009ͲHC    HDRDPLexusRC200t16Ͳ17L4Ͳ2.0L(t)                   Gas
391       48Ͳ36009ͲHN    HDRDPLexusRC200t16Ͳ17L4Ͳ2.0L(t)                   Gas
392       48Ͳ36104ͲYC    HDRYͲPipeNissan350Z03Ͳ06V6Ͳ3.5L                    Gas
393       48Ͳ36104ͲYN    HDRYͲPipeNissan350Z03Ͳ06V6Ͳ3.5L                    Gas
394       48Ͳ36106ͲYC    HDR&CͲPipeNissanPatrol(Y62)10Ͳ195.6L             Gas
395       48Ͳ36106ͲYN    HDR&CͲPipeNissanPatrol(Y62)10Ͳ195.6L             Gas
396       48Ͳ36110ͲHC    HDRDPInfinitiQ50/Q6016Ͳ19V6Ͳ3.0L(tt)              Gas
397       48Ͳ36110ͲHN    HDRDPInfinitiQ50/Q6016Ͳ18V6Ͳ3.0L(tt)              Gas
398       48Ͳ36111ͲRN    HDRDPInfinitiQ50/Q6016Ͳ18V6Ͳ3.0L(tt)              Gas
399       48Ͳ36112ͲRC    HDRCͲPipeNissan350Z03Ͳ06V6Ͳ3.5L                    Gas
400       48Ͳ36113ͲRC    HDRCͲPipeNissan350/370Z07Ͳ20V6Ͳ3.5/3.7L            Gas
401       48Ͳ36211ͲYC    HDR&CͲPipeJeepGrandCherokee12Ͳ196.4L             Gas
402       48Ͳ36301Ͳ1     HDRDPBMW335i07Ͳ10L6Ͳ3.0L(tt)N54                  Gas
403       48Ͳ36302ͲHC    HDRDPBMW335i(E9X)11Ͳ13L6Ͳ3.0L(t)N55             Gas
404       48Ͳ36302ͲHN    HDRDPBMW335i(E9X)11Ͳ13L6Ͳ3.0L(t)N55             Gas
405       48Ͳ36303ͲHC    HDRDPBMW328/428i(F30/32)12Ͳ162.0L(t)             Gas
406       48Ͳ36306       HDRBMWM3(E46)01Ͳ06L6Ͳ3.2LS54                      Gas
407       48Ͳ36310       HDRDPBMW335i(F30)12Ͳ133.0L(t)N55                Gas
408       48Ͳ36311       HDRDPBMW335i(F30)12Ͳ133.0L(t)N55                Gas
409       48Ͳ36313       HDRDPBMWM3/M415Ͳ18L6Ͳ3.0L(tt)                     Gas
410       48Ͳ36315ͲHC    HDRDPBMWM216Ͳ19L6Ͳ3.0L(t)N55                     Gas
411       48Ͳ36315ͲHN    BMWM2(F87)16Ͳ17L6Ͳ3.0L(t)N55                      Gas
412       48Ͳ36316ͲYN    BMWM396Ͳ99(E36)L6Ͳ3.2L                              Gas
413       48Ͳ36317ͲHC    HDRDPBMW340i(F3x)16Ͳ18L6Ͳ3.0L(t)B58             Gas
414       48Ͳ36317ͲHN    BMW340i/440i(F3X)16Ͳ17L6Ͳ3.0L(t)B58               Gas
415       48Ͳ36318ͲHN    MINICooperS(R56)07Ͳ13L4Ͳ1.6L(t)N18                Gas
416       48Ͳ36319ͲRN    MINICooperS(R56)07Ͳ13L4Ͳ1.6L(t)N18                Gas
417       48Ͳ36320ͲRN    HDRRPBMWZ4M(E85/86)06Ͳ08L6Ͳ3.2L                  Gas
418       48Ͳ36321ͲHC    HDRDPBMWX6M(F86)15Ͳ18V8Ͳ4.4L(tt)                Gas
419       48Ͳ36321ͲHN    HDRDPBMWX6M(F86)15Ͳ18V8Ͳ4.4L(tt)                Gas
420       48Ͳ36322ͲHN    HDRDPMINICooperS15Ͳ20L4Ͳ2.0L(t)                  Gas
421       48Ͳ36323ͲRN    HDRRPMiniCooperS14Ͳ19L4Ͳ2.0L(t)                  Gas
422       48Ͳ36403       HDRPorscheC2S99112Ͳ15H6Ͳ3.8L                       Gas
423       48Ͳ36404       HDRPorscheCaymanS(981)13Ͳ16H6Ͳ3.4L                Gas
424       48Ͳ36405       HDRPorscheCaymanS(981)13Ͳ15H6Ͳ3.4L                Gas
425       48Ͳ36407ͲYC    HDRDPAudiA4(B9)17Ͳ20L4Ͳ2.0L(t)                   Gas
426       48Ͳ36407ͲYN    HDRDPAudiA4(B9)17Ͳ20L4Ͳ2.0L(t)                   Gas
427       48Ͳ36408ͲYC    HDRDPVWGTI(MKVII)15Ͳ20L4Ͳ2.0L(t)                 Gas
428       48Ͳ36411ͲYC    HDRDPVWGolfR(MKVII)15Ͳ19L4Ͳ2.0L(t)              Gas
429       48Ͳ36602ͲHC    HDRDPHondaCivicSi12Ͳ15L4Ͳ2.4L                     Gas
430       48Ͳ36602ͲHN    HDRDPHondaCivicSi12Ͳ15L4Ͳ2.4L                     Gas
431       48Ͳ36603ͲHC    HDRHondaCivicSi06Ͳ11L4Ͳ2.0L                        Gas


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ROW           PartNo.                                 Description                 Fuel
432       48Ͳ36603ͲHN    HDRHondaCivicSi06Ͳ11L4Ͳ2.0L                        Gas
433       48Ͳ36604ͲHC    HDRDPHondaCivic16Ͳ19I4Ͳ1.5L(t)                    Gas
434       48Ͳ36604ͲHN    HondaCivic16Ͳ17I4Ͳ1.5L(t)                           Gas
435       48Ͳ36606ͲHC    HDRDPHondaCivicTypeR17Ͳ19L4Ͳ2.0L(t)             Gas
436       48Ͳ36606ͲHN    HondaCivicTypeR2017L4Ͳ2.0L(t)                     Gas
437       48Ͳ36801ͲHC    HDRDPSubaruWRXSTI15Ͳ19H4Ͳ2.5L(t)                 Gas
438       48Ͳ36801ͲHN    HDRDPSubaruWRXSTI15Ͳ19H4Ͳ2.5L(t)                 Gas
439       48Ͳ37001ͲHC    HDRDPHyundaiElantraGTSport20181.6Lt             Gas
440       48Ͳ37001ͲHN    HDRDPHyundaiElantraGTSport20181.6Lt             Gas
441       48Ͳ37002ͲRN    HDRRPHyundaiElantraGTSport20181.6L(t)           Gas
442       48Ͳ37003ͲHN    HDRMazdaMXͲ5Miata(ND)16Ͳ19L4Ͳ2.0L                 Gas
443       48Ͳ37004ͲRN    HDRRPMazdaMXͲ5Miata(ND)16Ͳ19L4Ͳ2.0L              Gas
444       48Ͳ37005ͲHC    HDRDPHyundaiVelosterN19Ͳ20L4Ͳ2.0L(t)             Gas
445       48Ͳ38028ͲYC    HDRDPJeepWrangler(JL)18Ͳ20L4Ͳ2.0L(t)             Gas
446       48Ͳ38028ͲYN    HDRDPJeepWrangler(JL)18Ͳ20L4Ͳ2.0L(t)             Gas
447       48Ͳ42002ͲYC    HDR&CͲPipeDodgeChallenger11Ͳ146.4L                Gas
448       48Ͳ42002ͲYN    HDR&CͲPipeDodgeChallenger11Ͳ146.4L                Gas
449       48Ͳ42003       HDRYͲPipeDodgeRAMTrucks09Ͳ19V8Ͳ5.7L               Gas
450       48Ͳ42004       HDRYͲPipeDodgeRAMTrucks09Ͳ15V8Ͳ5.7L               Gas
451       48Ͳ42005       HDRCͲPipeDodgeChallenger11Ͳ14V8Ͳ6.4L               Gas
452       48Ͳ42006       HDRCͲPipeDodgeChallenger11Ͳ14V8Ͳ6.4L               Gas
453       48Ͳ42010ͲYC    HDR&YͲPipeDodgeRAM09Ͳ19V8Ͳ5.7L2/4WD              Gas
454       48Ͳ42013ͲYC    HDR&CͲPipeRAM2500/350014Ͳ18V8Ͳ6.4L                Gas
455       48Ͳ42013ͲYN    RAM2500/350014Ͳ17V8Ͳ6.4LHEMI,InclPowerWagon      Gas
456       48Ͳ42024ͲRC    HDRYͲPipeRAM15002019V8Ͳ5.7LHEMI                   Gas
457       48Ͳ42024ͲRN    HDRYͲPipeRAM15002019V8Ͳ5.7LHEMI                   Gas
458       48Ͳ43003ͲYC    HDR&YͲPipeFordFͲ15004Ͳ08V8Ͳ5.4L                   Gas
459       48Ͳ43003ͲYN    HDR&YͲPipeFordFͲ15004Ͳ08V8Ͳ5.4L                   Gas
460       48Ͳ43004       HDRYͲPipeFordFͲ15011Ͳ14V8Ͳ5.0L                     Gas
461       48Ͳ43005       HDRYͲPipeFordFͲ15011Ͳ14V8Ͳ5.0L                     Gas
462       48Ͳ43006       HDRYͲPipeFordFͲ15011Ͳ14V6Ͳ3.5L(tt)                Gas
463       48Ͳ43007       HDRYͲPipeFordFͲ15011Ͳ14V6Ͳ3.5L(tt)                Gas
464       48Ͳ43008       HDRYͲPipeFordFͲ15015Ͳ19V6Ͳ2.7L(tt)                Gas
465       48Ͳ43009       HDRYͲPipeFordFͲ15015Ͳ16V6Ͳ2.7L(tt)                Gas
466       48Ͳ43010       HDRYͲPipeFordFͲ15015Ͳ19V6Ͳ3.5L(tt)                Gas
467       48Ͳ43010ͲYC    HDRYͲPipeFordFͲ15015Ͳ20V6Ͳ3.5L(tt)                Gas
468       48Ͳ43010ͲYN    HDRYͲPipeFordFͲ15015Ͳ20V6Ͳ3.5L(tt)                Gas
469       48Ͳ43011       HDRYͲPipeFordFͲ15015Ͳ16V6Ͳ3.5L(tt)                Gas
470       48Ͳ43015Ͳ1YC   HDR&YͲPipeFordFͲ15015Ͳ20V8Ͳ5.0L                   Gas
471       48Ͳ43015Ͳ1YN   HDR&YͲPipeFordFͲ15015Ͳ20V8Ͳ5.0L                   Gas
472       48Ͳ43015ͲYC    HDR&YͲPipeFordFͲ15015Ͳ17V8Ͳ5.0L                   Gas
473       48Ͳ43015ͲYN    HDR&YͲPipeFordFͲ15015Ͳ16V8Ͳ5.0L                   Gas
474       48Ͳ43020ͲHC    HDRDPFordFͲ150Raptor17Ͳ19V6Ͳ3.5L(tt)             Gas


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ROW           PartNo.                                Description                        Fuel
475       48Ͳ43020ͲHN    FordFͲ150Raptor2017V6Ͳ3.5L(tt)                           Gas
476       48Ͳ43026ͲRC    HDRYͲPipeFordFͲ15015Ͳ19V8Ͳ5.0L                           Gas
477       48Ͳ43026ͲRN    HDRYͲPipeFordFͲ15015Ͳ19V8Ͳ5.0L                           Gas
478       48Ͳ44001ͲYC    HDR&YͲPipeGMTrucks150009Ͳ13V8                          Gas
479       48Ͳ44002       HDRYͲPipeGMTruck/SUV09Ͳ13V8Ͳ4.8/5.3L                     Gas
480       48Ͳ44003ͲYC    HDR&YͲPipeGMTrucks14Ͳ19V8Ͳ5.3L                          Gas
481       48Ͳ44004       HDRYͲPipeGMTrucks150014Ͳ19V8Ͳ5.3L                       Gas
482       48Ͳ44005ͲYC    HDR&YͲPipeGMTrucks14Ͳ19V8Ͳ5.3/6.2L                      Gas
483       48Ͳ44005ͲYN    HDR&YͲPipeGMTrucks14Ͳ16V8Ͳ5.3/6.2L                      Gas
484       48Ͳ44006ͲYC    HDR&YͲPipeGMTrucks09Ͳ13V8Ͳ4.8/5.3L                      Gas
485       48Ͳ44140ͲRC    HDRYͲPipeGMTrucks150014Ͳ18V8Ͳ6.2L                       Gas
486       48Ͳ44141ͲYC    HDR&YͲPipeGMTrucks14Ͳ18V8Ͳ6.2L                          Gas
487       48Ͳ44142ͲYC    HDR&YͲPipeGMTrucks14Ͳ18V8Ͳ6.2L                          Gas
488       48Ͳ46001ͲYC    HDR&YͲPipeToyotaTacoma05Ͳ114.0L2/4WD                   Gas
489       48Ͳ46006       HDRYͲPipeToyotaTacoma05Ͳ15V6Ͳ4.0L2/4WD                  Gas
490       48Ͳ46007ͲYN    HDRYͲPipeToyotaFJCruiser07Ͳ14V6Ͳ4.0L                    Gas
491       48Ͳ46008ͲYC    HDR&CͲPipeToyotaTundra10Ͳ19V8Ͳ5.7L                      Gas
492       48Ͳ46008ͲYN    HDRYͲPipeToyotaTundra10Ͳ16V8Ͳ5.7L                        Gas
493       48Ͳ46011ͲRN    HDRYͲPipeToyotaTacoma16Ͳ20V6Ͳ3.5L2WD                    Gas
494       48Ͳ46012ͲHN    HDRToyotaTacoma16Ͳ20V6Ͳ3.5L                               Gas
495       48Ͳ46107ͲYC    HDR&CͲPipeNissanTitan04Ͳ15V8Ͳ5.6L                       Gas
496       48Ͳ46107ͲYN    NissanTitan04Ͳ15V8Ͳ5.6L                                    Gas
497       48Ͳ46114ͲYC    HDR&CͲPipeNissanTitanXD16Ͳ19V8Ͳ5.6L                    Gas
498       48Ͳ46114ͲYN    HDR&CͲPipeNissanTitanXD16Ͳ19V8Ͳ5.6L                    Gas
499       48Ͳ46214ͲYC    HDR&YͲPipeJeepWrangler07Ͳ11V6Ͳ3.8L                      Gas
500       48Ͳ46303ͲHN    HDRDPBMW328/428i(F30/32)12Ͳ162.0L(t)                   Gas
501       48Ͳ48020ͲYC    HDR&YͲPipeJeepWrangler(TJ)00Ͳ064.0L                    Gas
502       48Ͳ48020ͲYN    HDR&YͲPipeJeepWrangler(TJ)00Ͳ064.0L                    Gas
503       48Ͳ48022ͲHC    HDRDPJeepWrangler(JK)12Ͳ18V6Ͳ3.6L                       Gas
504       48Ͳ48022ͲHN    JeepWrangler(JK)12Ͳ17V6Ͳ3.6L                              Gas
505       48Ͳ48025ͲHC    HDRDPJeepWrangler(JL)18Ͳ193.6L2/4Dr                    Gas
506       48Ͳ48025ͲHN    HDRDPJeepWrangler(JL)18Ͳ193.6L2/4Dr                    Gas
507       48C34101       ChevroletCorvette(C6)05Ͳ13V8Ͳ6.0L/6.2L/7.0L               Gas
508       48C34102ͲYC    HDRXͲPipeChevroletCorvetteC597Ͳ045.7L                   Gas
509       48C34102ͲYN    ChevroletCorvette(C5)97Ͳ04V8Ͳ5.7L(LS1)                   Gas
510       48C34104ͲYC    HDRXͲPipeCorvetteC605Ͳ08V8Ͳ6.0/6.2L                      Gas
511       48C34104ͲYN    ChevroletCorvette(C6)05Ͳ08V8Ͳ6.0L/6.2L(LS2/LS3)          Gas
512       48C34106ͲYC    HDRXͲPipeCorvetteZ06C606Ͳ136.2/7.0L                     Gas
513       48C34106ͲYN    ChevroletCorvetteZ06/ZR1(C6)06Ͳ13V8Ͳ6.2L/7.0L(LS9/LS7)   Gas
514       48C34108ͲYC    HDRXͲPipeCorvetteC609Ͳ13V8Ͳ6.2L                          Gas
515       48C34108ͲYN    ChevroletCorvette(C6)09Ͳ13V8Ͳ6.2L(LS3)                   Gas
516       48C34110       ChevroletCorvette(C7)14Ͳ16V8Ͳ6.2L(LT1)                   Gas
517       48C34111ͲYC    HDRXͲPipeCorvetteC714Ͳ19V8Ͳ6.2L                          Gas


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                                       AppendixA
ROW           PartNo.                                Description                   Fuel
518       48C34111ͲYN    ChevroletCorvette(C7)14Ͳ16V8Ͳ6.2L(LT1)             Gas
519       48C34124       ChevroletCorvette(C5)97Ͳ04V8Ͳ5.7L(LS1)             Gas
520       49Ͳ36316       EXH2.5inRPBMWM3(E9x)08Ͳ13V8Ͳ4.0LSS304          Gas
521       49Ͳ36319       EXH2.5inRPBMW328i(E92/93)07Ͳ13L6Ͳ3.0L           Gas
522       49Ͳ36337Ͳ1C    EXHDPͲBBMWM3/M415Ͳ20L6Ͳ3.0L(tt)CFtip            Gas
523       49Ͳ36337ͲB     BMWM3/M4(F80/F82)15Ͳ17L6Ͳ3.0L(tt)S55               Gas
524       49Ͳ36337ͲC     BMWM3/M4(F80/F82)15Ͳ17L6Ͳ3.0L(tt)S55               Gas
525       49Ͳ36337ͲP     BMWM3/M4(F80/F82)15Ͳ17L6Ͳ3.0L(tt)S55               Gas
526       49Ͳ36343ͲB     EXHDPͲBBMWM2Competition2019L6Ͳ3.0L(tt)blk       Gas
527       49Ͳ36343ͲC     EXHDPͲBBMWM2Competition2019L6Ͳ3.0L(tt)CF        Gas
528       49Ͳ36343ͲP     EXHDPͲBBMWM2Competition2019L6Ͳ3.0L(tt)pol       Gas
529       49Ͳ84001ͲB     EXHPolarisRZRXP100015Ͳ20                           Gas
530       49Ͳ84001ͲH     EXHPolarisRZRXP100015Ͳ20                           Gas
531       49Ͳ84002ͲB     EXHPolarisRZRXPTurbo16Ͳ20                          Gas
532       49Ͳ84002ͲH     EXHPolarisRZRXPTurbo16Ͳ20                          Gas
533       77Ͳ33001ͲPL    SCORCHERProPKGFordRaptor17Ͳ203.5L(tt)            Gas
534       77Ͳ34001ͲPL    SCORCHERProCorvetteZ06C715Ͳ17V8Ͳ6.2Lsc           Gas
535       77Ͳ34006ͲPL    SCORCHERProChevroletCorvetteC714Ͳ18                Gas
536       77Ͳ46602ͲPL    SCORCHERGTPKGHondaCivicTypeR17Ͳ192.0L(t)       Gas
537       77Ͳ46602ͲPM    SCORCHERGTPKGHondaCivicTypeR17Ͳ192.0L(t)       Gas
538       46Ͳ10072       MANINTDodgeDslTrucks07.5Ͳ18L6Ͳ6.7L                Diesel
539       48Ͳ36005ͲHC    HDRScionFRͲS/BRZ13Ͳ19H4Ͳ2.0LStreet                 Gas
540       48Ͳ36307       HDRBMW3ͲSeries(E9x)06Ͳ13L6Ͳ3.0LStreet             Gas
541       49Ͳ36321       EXH2.5inRPBMWM3(E9x)08Ͳ13V8Ͳ4.0L                Gas
542       48Ͳ36312Ͳ1     HDRDPBMWM3/M4/M2Comp15Ͳ19L6Ͳ3.0L(tt)Street      Gas
543       48Ͳ46003Ͳ1YC   HDR&YͲPipeToyotaTacoma12Ͳ154.0L2/4WDStreet      Gas
544       48Ͳ46003       HDRToyotaTacoma12Ͳ15V6Ͳ4.0LStreet                  Gas
545       48Ͳ46001ͲHC    HDRToyotaTacoma05Ͳ11V6Ͳ4.0LStreet                  Gas
546       48Ͳ34130ͲYC    HDRCͲPipeChevroletCorvetteC714Ͳ196.2LStreet      Gas
547       48Ͳ34129ͲYC    HDRXͲPipeChevroletCorvetteC714Ͳ19ATStreet        Gas
548       48Ͳ36401       HDRPorscheC2S99112Ͳ16H6Ͳ3.8LStreet                Gas
549       48Ͳ34131ͲPK    HDRXͲPipe/CͲPipeCorvetteC714Ͳ196.2LATStreet      Gas
550       48Ͳ36318ͲHC    HDRDPMINICooperS09Ͳ13L4Ͳ1.6L(t)Street           Gas
551       49Ͳ36330ͲC     BMWM2(F87)16Ͳ17L6Ͳ3.0L(t)N55                      Gas
552       49Ͳ36330ͲP     BMWM2(F87)16Ͳ17L6Ͳ3.0L(t)N55                      Gas
553       49Ͳ36330ͲB     BMWM2(F87)16Ͳ17L6Ͳ3.0L(t)N55                      Gas
554       48Ͳ36802       HDRSubaruWRXSTI04Ͳ19H4Ͳ2.5L(t)                    Gas
555       48Ͳ36402       HDRPorsche911Carrera405Ͳ08H6Ͳ3.6L                 Gas




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                APPENDIX B




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                                             Appendix B
                                          Exempt Products
  x   Air Filters – Direct Fit Original Replacement
  x   Pre-Filters, which have the purpose to provide additional filtration protection to capture
      particulate matter and extend the life of the filter between cleanings. They also provide
      protection against water ingestion. Use of this item typically reduces air flow by 3-5%.
  x   Fluid Filters
  x   Suspension Products
  x   Differential Covers, Transmission Pans, Oil Pans
  x   Radiators
  x   Torque Convertors
  x   Filter Pans and Covers
  x   Engine Covers
  x   Intake Covers
  x   Couplings
  x   Gaskets
  x   Cables
  x   Mounting Devices/Brackets
  x   Air Compressor Mounts
  x   Protective Plates
  x   Oil Caps
  x   Mufflers
  x   Exhaust Tips
  x   Resonators
  x   Diff Cover & Trans Pan Components
  x   Pulleys
  x   Turbine Elbows
  x   Chemicals
  x   Bolts, Nuts, Washers, Clamps, Hose Fittings




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                APPENDIX C




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                                            Appendix C
                              Additional Criteria for Exempt Products
  A Product is an Exempt Product if it meets one of the following criteria.
         1.      The California Air Resource Board (“CARB”) has issued an Executive Order

  (“EO”) governing the Product; or

         2.      Within the last two years, aFe has completed and filed a complete application

  (“Complete Application”) for a CARB EO for the Product that meets the conditions set forth in

  Paragraphs a-d below. A “Complete Application” means an application for a CARB Executive

  Order that has been submitted to CARB and contains all forms and information, including the

  results of emissions testing or engineering evaluation, required for CARB to fully evaluate and

  take final action on the application.

                 a.      The application has not been withdrawn;

                 b.      aFe has not received any communication from CARB indicating that the
                         application for the Product is not or will not be approved;

                 c.      No documentation or information provided to CARB or to EPA related to
                         the Product is materially incorrect or inaccurate; and

                 d.      The Product is not capable of being used with a Stock Configuration that
                         is not referenced in the Defendant’s Complete Application, including
                         without limitation the Stock Configuration of a later model year vehicle.




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                APPENDIX D
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                                             Appendix D

                                List Financial Information Provided

      x   aFe’s year-to-date through June 30th financial statements for 2018-2020.
      x   aFe’s year-end through December 31st financial statements for 2014-2019.
      x   aFe’s Form 1120S federal income tax returns for 2014-2018.
      x   aFe’s annual business plan documentation for 2019-2020.
      x   aFe’s summary of ownership and annual compensation by executive, director, officer, or
          shareholder for 2014-2018.
      x   aFe’s summary of shareholder distributions between January 1, 2014 and July 31, 2019.
      x   aFe’s January 17, 2020 written responses to an information request from DOJ; the
          responses provided information about related business entities, related party transactions,
          recent business activities, and future business activities.
      x   aFe’s written settlement communications to DOJ, as sent on August 17, 2020 and
          September 15, 2020.
      x   Jonathan Shefftz’ “Supplemental and Rebuttal Expert Opinion on Economic Impact of
          Penalty Payment Regarding: Advanced Flow Engineering, Inc.,” as submitted on August
          14, 2020.
      x   Jonathan Shefftz’ “Expert Opinion on Economic Impact of Penalty Payment Regarding:
          Advanced Flow Engineering, Inc.,” as submitted on September 13, 2019.




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                   APPENDIX E
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                                                 Appendix E

                             Notice to Customers and Authorized Dealers

                                             [aFe LETTERHEAD]
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  Dear [Customer Name or Authorized Dealer Name]:
          We are writing to make you aware of important changes in the type of products sold by
  Advanced Flow Engineering, Inc. (“aFe”). According to our records, you purchased certain aFe
  aftermarket performance products. For purposes of this letter, these products are hereinafter referred to
  as “Subject Products.”
            As you may already know, starting in 2019 aFe began suspending all manufacturing and sales of
  Subject Products. aFe suspended those sales because EPA alleged that the manufacture and sale of
  Subject Products violated the Clean Air Act’s prohibition against motor vehicle parts or components that
  allow for bypassing, defeating or rendering inoperative any emissions control system or element of
  design on a vehicle. See 42 U.S.C. §7522(a)(3). Emissions control systems include the diesel particulate
  filter, exhaust gas recirculation system, catalysts, and onboard diagnostic system.
          aFe recently entered into a civil judicial settlement with EPA to resolve disputes regarding its
  manufacturing, sale and installation of Subject Products. Although aFe has not admitted liability for
  violating the Clean Air Act, as part of the settlement it has agreed that, among other things, it will no
  longer (1) manufacture, sell, or install the Subject Products or (2) provide technical support (e.g.,
  telephone support, online/chat support, warranty support) for the Subject Products. aFe has also agreed
  to provide you with this notice.
         aFe’s settlement with EPA specifically allows for aFe to continue selling products covered by
  Executive Orders issued by the California Air Resources Board (“CARB”) or certain pending applications
  for CARB Executive Orders. aFe currently sells various CARB-certified products and more information
  concerning these CARB-certified products are available on aFe’s website, www.aFe.com.


                                                    Sincerely,


                                                    [aFe Representative TBD]




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                APPENDIX F
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                                              Appendix F

                                  NOTICE OF CAA PROVISIONS

                             CONSENT DECREE IN UNITED STATES
                                                   v.
                               ADVANCED FLOW ENGINEERING

  TO: ALL OFFICERS, DIRECTORS, AND EMPLOYEES OF ADVANCED FLOW
  ENGINEERING:

          Advanced Flow Engineering (“aFe”) has entered into a civil judicial settlement with
  the federal government regarding the manufacture, sale, and installation of certain aftermarket
  performance products that the United States Environmental Protection Agency (“EPA”)
  alleged violated the Clean Air Act. Section 203 of the Clean Air Act prohibits the
  manufacture, sale, and installation of parts or components where a principal effect of the part
  or component is to bypass, defeat, or render inoperative emission control devices or elements
  of design, such as diesel particulate filters, exhaust gas recirculation systems, and onboard
  diagnostic system. aFe has agreed to cease manufacturing, selling and offering to sell these
  products.

  42 U.S. Code Section 7522

  (a) Enumerated prohibitions

  The following acts and the causing thereof are prohibited—
  (3)(A) for any person to remove or render inoperative any device or element of design installed
  on or in a motor vehicle or motor vehicle engine in compliance with regulations under this
  subchapter prior to its sale and delivery to the ultimate purchaser, or for any person knowingly to
  remove or render inoperative any such device or element of design after such sale and delivery to
  the ultimate purchaser; or
  (3)(B) for any person to manufacture or sell, or offer to sell, or install, any part or component
  intended for use with, or as part of, any motor vehicle or motor vehicle engine, where a principal
  effect of the part or component is to bypass, defeat, or render inoperative any device or element
  of design installed on or in a motor vehicle or motor vehicle engine in compliance with
  regulations under this subchapter, and where the person knows or should know that such part or
  component is being offered for sale or installed for such use or put to such use
         Anyone who undertakes any of the actions prohibited by Section 7522(a)(3)(A) or (B) of the
  Clean Air Act, or who offers for sale, sells, conveys, or otherwise transfers in any way the design,
  technology, or manufacturing processes or techniques used to manufacture the products identified
  above may be subject to a civil action under the Clean Air Act.




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